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                         UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION


IN RE BROILER CHICKEN ANTITRUST                 No. 16 C 8637
LITIGATION
                                                Judge Thomas M. Durkin


                  AMENDED MEMORANDUM OPINION AND ORDER

      Purchasers of chicken meat (a product known as “Broilers”) allege that Broiler

producers conspired to raise prices in violation of the Sherman Act. i Defendants have

moved for summary judgment, ii in the form of 38 separately filed and briefed

motions. iii The motions are denied in part and granted in part.

      In accordance with the parties’ stipulation of September 27, 2023, R. 6903, this

amended opinion and order is entered to correct scrivener’s errors in the original

opinion and order entered on June 30, 2023. R. 6641. This amended opinion and order

makes no change to the Court’s findings and judgments entered in the June 30 order.
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                                      Analysis

      The foundation of this case is the apparently anomalous decreases in Broiler

production in 2008-09 and 2011-12 depicted in this chart:




See R. 6226 at 53. 1 Plaintiffs claim that the decreases were intentionally implemented

as part of a conspiracy to increase price, whereas Defendants argue that they were

caused by market conditions and Defendants’ independent reactions to those

conditions.

      Section 1 of the Sherman Act prohibits every “contract, combination . . . or

conspiracy in restraint of trade.” This “language does not ban all contracts, but

instead reaches only agreements that restrict competition.” Kleen Prod. LLC v.

Georgia-Pac. LLC, 910 F.3d 927, 933 (7th Cir. 2018) (emphasis in original). “Price



1 “RTC” means “ready to cook” and is sometimes used as a descriptor for Broilers.


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fixing is a per se violation of the Sherman Act.” In re High Fructose Corn Syrup

Antitrust Litig., 295 F.3d 651, 654 (7th Cir. 2002). Output reduction with the intent

to increase price can be a form of price fixing. See Kleen, 910 F.3d at 931.

      Defendants’ “information exchange” through Agri Stats is part of the evidence

Plaintiffs use to prove their per se price fixing claim. The End Users also argue that

the Agri Stats information exchange is anticompetitive and itself violates the

Sherman Act. Such a claim is evaluated under a “rule of reason” framework. See Todd

v. Exxon Corp., 275 F.3d 191, 198 (2d Cir. 2001) (“There is a closely related but

analytically distinct type of claim, also based on § 1 of the Sherman Act, where the

violation lies in the information exchange itself—as opposed to merely using the

information exchange as evidence upon which to infer a price-fixing agreement. This

exchange of information is not illegal per se, but can be found unlawful under a rule

of reason analysis.”). The Court will address this claim later and separately from the

per se price fixing claim.

      Whether summary judgment is appropriate on the per se claim depends on

whether the evidence is sufficient for a reasonable jury to find a conspiracy by a

preponderance of the evidence. See Kleen, 910 F.3d at 934 (Plaintiffs need “evidence

that would allow a trier of fact to nudge the ball over the 50-yard line and rationally

to say that the existence of an agreement is more likely than not.”); id. (“[A]t the

summary judgment stage a § 1 plaintiff's offer of conspiracy evidence must tend to

rule out the possibility that the defendants were acting independently.” (quoting Bell

Atlantic Corp. v. Twombly, 550 U.S. 544, 554 (2007))); see also Fructose, 295 F.3d at



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661 (“Another and equivalent way to put this is that they must present evidence that

would enable a reasonable jury to reject the hypothesis that the defendants foreswore

price competition without actually agreeing to do so.”). “Put more directly, [a plaintiff]

must put on the table some evidence which, if believed, would support a finding of

concerted behavior.” Kleen, 910 F.3d at 934. As usual, summary judgment is the

moment in a lawsuit “when a party must show what evidence it has that would

convince a trier of fact to accept its version of events.” Wade v. Ramos, 26 F.4th 440,

446 (7th Cir. 2022) (“put up or shut up”).

      A.     Opinion Evidence

      Plaintiffs’ case begins with the opinions of several economists and other

experts. According to the experts, the Broiler market is conducive to collusion for

several reasons. First, Broilers function as a commodity product, because the chicken

meat produced in the United States is genetically identical. Second, Defendants are

vertically integrated, meaning that they control all the levers of supply. Third, the

market is highly concentrated. While there are 20 defendant producers, the top four

control nearly 60 percent of the market, and the top eight control almost 80 percent.




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R. 6226-5 at 64 (p. 58).

      Lastly, reports from Agri Stats—a company that surveys Broiler producers and

prepares reports about industry statistics—provided an opportunity for Defendants

to learn information about their competitors’ businesses. 2 The reports compared the



2 See R. 6226-3 (Carter report); R. 6226-3 (Mangum report); R. 6226-5 (Sunding
report); R. 5898-1 (Frankel report); R. 6226-4 (Williams report).

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subscriber’s data to anonymized data of other subscribers. Critically, the supply data

was redacted on a report except for the subscriber who supplied it. But there is

evidence that some defendants exchanged reports, and evidence that other

defendants were able to deanonymize the reports by cross-referencing different

sections of the reports and applying their own knowledge of their competitors and the

industry. The extent of the information sharing through Agri Stats is unusual for

competitors. See Kleen, 910 F.3d at 938 (“this type of information flow, especially

between executives, may be probative of conspiracy”).

      The experts explain that in an industry with these characteristics, an unusual

production cut is likely the result of express agreement among the producers. The

alternative—unilateral action based on merely tacit agreement or what is known as

conscious parallel conduct—is less likely because it is too easy for a competitor to

jump in and satisfy any supply decrease implemented unilaterally. See R. 5624 at

160:12-13, 24 (Mangum, the Indirects’ expert, testified that in a competitive

marketplace “other competitors [should be] watching to see if [a competitor]

stumbles,” and be ready to “step up”). According to Plaintiffs’ experts, the commodity

nature of Broilers and the vertical integration that allows producers to easily ramp

up production, especially by the largest producers, means that a large decrease in

production by the industry as a whole is likely a result of agreement among the

competitors. 3



3 See R. 6226-3 (Carter report); R. 6226-3 (Mangum report); R. 6226-5 (Sunding
report); R. 5898-1 (Frankel report); R. 6226-4 (Williams report); R. 5864-1 (Elhauge
report).
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       Notably, in the years immediately preceding the alleged conspiracy period,

Tyson, the second largest producer at the time, attempted unilateral production cuts

to no avail. This failure led Tyson to rejoin Agri Stats in 2007—having dropped the

subscription in 2004, see R. 6415 at 12 (¶ 5)—to gain access to information about its

competitors, and, according to Plaintiffs, was the impetus for the conspiracy alleged

in this case.

       The unusual production decreases in 2008-09 and 2011-12, in an industry that

historically experiences consistently increasing production, justify examining

whether the economic conditions were sufficient to cause the production decreases

without an agreement among the producers. Several of Plaintiffs’ experts conducted

regression analyses accounting for supply and demand factors such as the price of

feed, the price of transportation, the cost of alternative proteins like beef, and the

unemployment rate. The analysts compared production in the alleged conspiracy

period to a preceding benchmark period. They all found that industry-wide

production was lower than it should have been and prices were higher than they

should have been, had there been active competition, taking account of the relevant

economic context. Based on these analyses, they concluded that the production

decreases and price increases were the result of collusion among the producers to

restrict supply. 4




4 See R. 6226-3 (Carter report); R. 6226-3 (Mangum report); R. 6226-5 (Sunding
report); R. 5921-2 (Lamb).
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      B.     Daubert Motions

      Defendants have moved to exclude each of the expert opinions Plaintiffs offer.

But like Defendants’ Daubert motions at the class certification stage, Defendants do

not actually contend that any of the experts’ methods are unreliable or lack a

reasonable basis. With respect to the opinions reviewed above—about (1) the Broiler

industry’s characteristics, and (2) the regression analyses—Defendants merely offer

alternative interpretations of the industry’s characteristics and disagree with the

data Plaintiffs’ experts use to conduct their regression analyses. As the Court

explained in much greater detail in certifying the three classes, these are issues for a

jury to consider and not reasons to exclude any experts’ testimony. See R. 5644 (In re

Broiler Chicken Antitrust Litig., 2022 WL 1720468, at *1 (N.D. Ill. May 27, 2022));

see also Fructose, 295 F.3d at 660 (“Resolving this dispute requires a knowledge of

statistical inference that judges do not possess. . . . [W]e must accept that the

plaintiffs have presented some admissible evidence that higher prices during the

period of the alleged conspiracy cannot be fully explained by causes consistent with

active competition, such as changes in the price of corn.”). The Court’s reasons for

denying Defendants’ motions to exclude the classes’ experts on class certification

(primarily the experts Carter, Mangum, and Sunding) are sufficient to deny

Defendants’ renewed Daubert motions on summary judgment, and the Court will not

repeat that reasoning here.

      Additionally, Defendants’ Daubert motions on summary judgment focus, in

part, on opinions that the Court has not relied on in deciding summary judgment. It



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may be that some of those opinions are not properly presented to a jury. But it is

unnecessary to decide those issues to decide summary judgment. Therefore, the

Court’s analysis of each of Defendants’ Daubert motions will be relatively brief and

targeted at the opinions necessary to decide summary judgment.

             1.     Carter

      Defendants argue that Carter’s opinions, in addition to being unreliable (an

argument the Court rejected for reasons stated in the opinion granting class

certification) should be excluded because his “one-size-fits-all approach is misleading

and highly likely to confuse the jury.” R. 5895 at 1. But Defendants believe Carter’s

opinions will confuse a jury for the same reasons they argue the opinions are

unreliable—largely because they disagree with his approach to analyze the industry

as a whole rather than each individual defendant. This is not an issue of confusion

but of the weight to be given to Carter’s opinions, and is not a reason to exclude them.

      Defendants also argue that “Dr. Carter’s opinion that an agreement can be

inferred from circumstantial evidence absent parallel conduct should be excluded”

because it is an incorrect “legal conclusion.” Id.; see also id. at 4-6. To the extent this

is Carter’s opinion, the Court agrees that it is a legal conclusion. In any event, the

Court has not relied on this opinion, and the Court will decide what constitutes

parallel conduct and whether that evidence is sufficient to meet Plaintiffs’ burden.

      Further, Defendants argue that Carter should not be permitted to offer his

opinions about the meaning of documentary evidence. See R. 5895 at 2 (“DPPs have

deployed Dr. Carter to ‘parrot [their] beliefs’ as a mouthpiece under the guise of



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economic analysis.”). Defendants are particularly concerned with Carter’s conclusions

based on documentary evidence about the extent of production cuts and Defendants’

understanding of their “fair share” of the conspiracy. The Court tends to agree with

Defendants’ argument, and the Court has not relied on any of Carter’s opinions based

on his interpretation of documentary evidence such as Defendants’ communications.

The Court has made its own findings about the significance of the documentary

evidence without assistance from any Plaintiffs’ expert.

             2.    Mangum

      Defendants argue that the Court’s denial of the motion to exclude Mangum’s

testimony in connection with the class certification motion is no longer relevant

because Mangum “materially changed his opinion” at his deposition when he

answered a question by acknowledging that in the Broiler industry “there’s a lot of

companies competing [and] they’re looking for a chance of [sic] someone to give them

a shot to produce more.” R. 5867 at 1. It is not clear how this single statement at a

deposition, appearing to concede that “competition” existed in the Broiler industry,

can undermine the extensive and detailed analysis in Mangum’s prepared report. To

the extent it does, Defendants can use it during cross examination. It is not a reason

to bar Mangum’s testimony as unreliable.

      Defendants next make a rather sophistical argument. They point out that

Mangum believes the Broiler industry to be an oligopoly in which “production

decisions” are not made solely based on cost and demand, but also by information

competitors can glean by simply observing each other’s conduct. Mangum’s regression



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analysis accounts for cost and demand factors and concludes that they do not explain

the production cuts and price increases during the alleged conspiracy period, so he

concludes that they must be caused by a conspiracy. Defendants contend that they

also could be the result simply of a tacit agreement, which, unlike an express

agreement, is not prohibited by the Sherman Act. Many authorities note that tacit

agreement is in the nature of an oligopoly. Fair enough. But this does not undermine

Mangum’s opinion. It just highlights the fact that he has taken a side in what is the

primary question in this case: whether conspiratorial agreement or unilateral

competitive behavior caused the decreases in production and increases in price. And

in any case, Mangum’s and the other experts’ opinions are not sufficient, by

themselves, to satisfy Plaintiffs’ preponderance burden. Those opinions are the

evidentiary foundation of Plaintiffs’ case and move them part of the way to the “50-

yard line,” as Kleen puts it. But they only establish that the economic circumstances

of the Broiler industry were ripe for conspiracy and might have even encouraged it.

Just because there is an alternative explanation that is contrary to that proffered by

Mangum and Plaintiffs’ other experts does not mean that Mangum’s opinion should

be excluded.

      Defendants also argue that Mangum’s opinion should be excluded “because he

opines that up to 40% of the broiler chicken industry could have done nothing to

restrain their own supply of broiler chicken and still been a part of the alleged supply

restraint conspiracy.” R. 5867 at 2. As discussed with respect to Carter’s opinions, the

Court has not relied on expert testimony to evaluate the evidence with respect to



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whether any defendant actually joined the conspiracy. Whether it is possible for a

defendant to join the conspiracy without actually cutting production is a question for

the Court to decide on summary judgment. But the fact that Mangum offers these

opinions, which the Court will disregard, does not undermine the other opinions that

the Court has relied upon.

             3.     Sunding

      Like their motions to exclude the testimonies of Carter and Mangum,

Defendants do not argue that Sunding’s regression analysis and his opinion that the

Broiler industry is conducive to collusion are unreliable. Instead, their motion focuses

on opinions that are not necessary to the Court’s summary judgment analysis.

      For instance, Sunding states in his report that the normal “unilateral

competitive response to production cuts on the part of one processor would be for its

rivals to increase production.” R. 6226-5 at 93. And in his rebuttal report, Sunding

cites several instances when he believes certain Defendants “made supply decisions

that were against their unilateral self-interest.” R. 6226-6 at 125-72. But at his

deposition, Sunding incorrectly cited certain instances of Defendants’ conduct against

self-interest. And in their brief in opposition to Perdue’s motion for summary

judgment, Plaintiffs made a similar mistake. These citation mistakes, however, do

not undermine the reliability of Sunding’s method to identify actions against

unilateral self-interest. His “method” is simply the commonsense observation that a

producer acts against its self-interest when it fails to fill a supply gap caused by a

competitor’s supply cut, as long as price sufficiently exceeds cost. Defendants do not



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quibble with examples of conduct against self-interest as they are stated in Sunding’s

reports. To the extent his misstatements at his deposition are material, they might

be subject matter for cross-examination. But this is not a reason to exclude his

testimony.

      Defendants also object to Sunding’s opinions about what Defendants meant

when they used the terms “fair share” and several other statements he reviewed in

Defendants’ documents. As discussed, the Court does not require Sunding’s expertise

to determine what reasonable interferences can be drawn from the documentary

evidence. That fact that Sunding does so is not a reason to exclude his testimony on

other matters. And it is unnecessary to decide now whether Sunding can testify to

such issues in front of a jury.

      The last of Defendants’ three arguments against Sunding is that he “cannot be

allowed to tell a jury that the supposed conspiracy started in 2008 when his own math

proves it did not.” R. 6391 at 8. Sunding is an expert for the End-User Class, whose

class period begins in 2012. Sunding’s analysis focuses on the period beginning in

2012, but he opines that the conspiracy began in 2008. It is unnecessary to decide

whether Sunding should be permitted to “tell a jury” that the conspiracy started in

2008, when that question is not necessary for the Court to decide summary judgment.

             4.     Frankel

      The Court has not previously addressed the opinions of Dr. Alan Frankel

because he has been retained by Direct Action Plaintiffs whose claims were of course

not at issue on the class certification motions. Frankel offers opinions about the



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Broiler industry’s susceptibility to collusion and a regression analysis of supply and

price during the alleged conspiracy period that are as similar to the work of Carter,

Mangum, and Sunding, as those three are to each other. Like their attacks on Carter,

Mangum, and Sunding, Defendants contend that Frankel’s regression analysis

produces unreasonable results. But as the Court explained in its opinion granting

class certification, this is material for cross-examination, and not a basis to exclude

Frankel’s testimony.

      Defendants primarily attack Frankel’s method of determining which of

Defendants’ production cuts were contrary to their self-interest. He does this by

analyzing when Defendants cut production even when costs were lower than the

prevailing price. Defendants concede that this is a well-accepted method. But

Defendants claim that when their expert ran Frankel’s equations on the benchmark

period the result is that more than 95% of cuts were against self-interest. Defendants

argue that this is an absurd result which indicates that Frankel’s method and opinion

should be excluded.

      To start, it is not inherently unreasonable or surprising to find that 95% of

production cuts are against self-interest. If prices were generally higher than costs

during the benchmark period, then production cuts would generally be against self-

interest. This is especially possible in an industry with the characteristics of the

Broiler industry, where there is increasing demand and it is relatively easy to

increase production to meet that demand.




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       Further, Frankel explains that his method was not merely to identify

production cuts that took place when price exceeded cost, but also to examine other

factors explaining the context of the production cuts, as exhibited in the documentary

evidence. He also used his judgment to determine when the cuts were not actually

against self-interest despite prices being higher than costs. Defendants argue that

judgment calls are not an admissible scientific method.

       However, Frankel’s individualized document review only serves to decrease the

number of production cuts he finds are against self-interest, which is actually helpful

to Defendants’ position. Presumably he can be cross-examined on any cuts he includes

as being against self-interest. As discussed, Defendants do not dispute the underlying

theory for the calculation that identifies which cuts are against self-interest, that

being when price is greater than cost. It is difficult to see why they would object to

Frankel finding that many of those cuts are not actually against self-interest.

Notably, Defendants argue throughout most of the rest of their Daubert motions that

Plaintiffs’   experts    insufficiently   examine   individual   data   and   alternative

explanations for production cuts. Here, Frankel appears to undertake just the kind

of analysis Defendants argue Plaintiffs’ other experts should have undertaken but

did not. Frankel’s opinions are admissible to the extent the Court relies on them in

deciding these motions.

              5.        Williams

       Like Frankel, the Court has not previously reviewed the report and testimony

of the Indirects’ expert Dr. Michael A. Williams, because it was not submitted with



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the motions for class certification. However, like Carter, Mangum, Sunding, and

Frankel, Williams performed a regression analysis with reference to a benchmark

period to determine that Broiler production was lower and prices were higher than

they should have been during the alleged conspiracy period absent the conspiracy.

Defendants make the same arguments against this method that the Court has

rejected with respect to the other four experts.

      Williams’s analysis includes 2008 in the benchmark period, even though 2008

is part of Plaintiffs’ alleged conspiracy period. Williams’s reasoning for this decision

is that the impact of any conspiracy beginning in 2008 would not be felt until 2009.

Defendants argue that it is unreasonable to include a year from the alleged

conspiracy period in the benchmark period. Perhaps this is true. But it is a question

for cross-examination and does not undermine the reliability of Williams’s method.

      Defendants take issue with several other of Williams’s opinions. First, they

criticize his opinion that it is possible for some producers to increase production and

still be part of a conspiracy to decrease production. Defendants argue that this

opinion is not helpful because Williams does not contend that any defendants

increased production, and so the theory does not conform to the facts of the case. But

the Court has previously suggested that a producer might restrict supply by slowing

the rate of increase of production as opposed to an overall production cut. This may

result in an increased production number, but one that would have been higher but

for the conspiracy. To the extent the facts bear out this possibility, Williams’s opinion

on this issue is helpful and will not be excluded.



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      Defendants then argue that Williams’s analysis of certain defendants’

production data is “unscientific” and incomplete. This argument is based on taking a

statement from Williams’s deposition out of context. And the argument that it is

incomplete ignores the fact that Williams undertook the particular analysis

Defendants criticize as a response to Defendants’ experts’ criticisms of him. In other

words, it is not the analysis that directly produced his primary opinions. This analysis

on reply has no direct bearing on the reliability of Williams’s primary opinions.

      Defendants also argue that Williams improperly concluded that early

slaughter of breeder hens and subscription to Agri Stats reports constitutes “parallel

conduct.” Defendants use this argument to attack Williams’s opinions that: (1) earlier

slaughter of breeder hens directly decreases supply; and (2) that all Defendants

deanonymized Agri Stats reports because Agri Stats’s information is “de facto non-

anonymous due to its specificity.” R. 6271 at 13. Of course, “parallel conduct” is a

legal term of art courts use to describe the weight of evidence of a conspiracy. As

mentioned, the Court will decide what constitutes parallel conduct and whether that

evidence is sufficient to meet Plaintiffs’ burden. In any case, whether Williams

improperly couched his conclusion in terms of “parallel conduct” is beside the point

and easily rectified with a motion in limine if necessary. Defendants certainly

disagree with these opinions, but they do not argue that either is unreliable. And the

fact that Williams concludes that this conduct demonstrates parallel conduct is not a

reason to exclude the substantive opinions themselves.




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      Lastly, as they do in their motions concerning Carter, Sunding, and Frankel,

Defendants argue that Williams improperly offers opinions about the meaning of

Defendants’ documented communications. As discussed, the Court will draw its own

conclusions in this regard.

             6.     Lamb

      Russell Lamb has been retained by Direct Action Plaintiff Associated

Wholesale Grocers (“AWG”) to provide opinions in this case. Like the classes’ experts,

Lamb conducted a regression analysis to demonstrate that production decreased and

prices increased relative to a benchmark period. Defendants argue that his analysis

is unreliable because he was unaware of defendant Pilgrim’s bankruptcy in 2008.

AWG responds that this is of no moment because Lamb “does not opine on any causal

effect issues.” R. 6266 at 3. But Lamb clearly does. He states in his report: “I have

concluded that the alleged conspiracy artificially inflated prices for broiler products.”

R. 5921-2 at 5. It is not clear why AWG denies this.

      Regardless, Lamb’s ignorance of Pilgrim’s bankruptcy does not undermine the

reliability of his methodology. The Court addressed this issue in detail in the order

certifying the classes. To the extent its bankruptcy was the cause of Pilgrim’s

decrease in production, the bankruptcy does not explain why Pilgrim’s competitors

did not jump in to fill the gap in supply. Lamb’s analysis, like that of the other experts

in this case, highlights this unusual circumstance by demonstrating that production

overall was lower that it should have been. Pilgrim’s bankruptcy is not an economic

condition that affected the market generally. It is a historic event that affected one



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producer. By contrast, Lamb and the other experts analyzed the industry as a whole.

Facts about individual producers are not relevant to that sort of analysis. Like the

other experts’ opinions, Lamb’s opinion about the market generally is relevant and

helpful to that extent. Lamb’s failure to account for a specific piece of information

about one producer is not a reason to exclude his opinion on a different issue.

             7.    Elhauge

      Einer Elhauge is a well-known professor of antitrust law at Harvard retained

by AWG to provide opinions in this case. Similar to several of the other experts

already discussed, Elhauge believes that the conditions of the Broiler industry are

conducive to a conspiracy and that many of Defendants’ actions are indicative of the

existence of a conspiracy. Defendants argue that Elhauge’s opinions are improper

legal conclusions that must be excluded. But Elhauge’s opinions are valuable not

because he offers an ultimate conclusion that a conspiracy existed in fact—an opinion

he was careful not to make—but because he evaluated the Broiler market and

Defendants’ actions. These opinions are not legal conclusions, but opinions based in

economic knowledge and training.

      Defendants’ more specific argument is that Elhauge relied upon the results of

Lamb’s regression analysis in preparing his report without having read Lamb’s

report. But even though Elhauge had not read Lamb’s report prior to preparing his

own, he had been made aware of Lamb’s methodology and conclusions. Being familiar

with the sort of analysis Lamb conducted, Elhauge assumed Lamb’s methods were

sound in order to prepare his own report in a timely fashion. Elhauge testified that



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he later read Lamb’s report and confirmed that he concurred with Lamb’s analysis.

There is nothing about this process that requires that Elhauge’s testimony be

excluded.

      C.     Parallel Conduct

      Apart from questioning the reliability of Plaintiffs’ experts’ regression

analyses, Defendants argue that their opinions are fundamentally contrary to reality

because, according to Defendants, they did not all cut production during the relevant

time periods. Defendants support this argument with the following charts produced

by their expert Dr. James A. Levinsohn:




R. 5997 at 27; R. 6019-1 at 98 (p. 92).




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R. 5997 at 28; R. 6019-1 at 100 (p. 94). Defendants argue that without parallel

production decreases, Plaintiffs cannot prove a conspiracy. On its face, these charts

appear to present a compelling argument.

      It is possible to prove a conspiracy without evidence of parallel noncompetitive

conduct. See Fructose, 295 F.3d at 655 (“Neither form of economic evidence [i.e.,

expert evidence or parallel conduct] is strictly necessary[.]”). The absence of parallel

conduct would not be fatal to Plaintiffs’ claims. But the presence of parallel conduct

is generally thought to be an integral part of the economic evidence necessary to prove

price fixing with circumstantial evidence. See id. (“The economic evidence will in turn

generally be of two types,” one being “evidence that the market behaved in a

noncompetitive manner.”).

      Plaintiffs argue that there are counter-explanations for Defendants’ statistics

which show that many of them actually decreased production. For instance, they




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argue that some apparent increases are only a product of a defendant acquiring a

competitor’s production plant, which is merely a shift of ownership of production.

      It is unnecessary, however, for the Court to delve into disputes about the

accuracy of Defendants’ evidence of increased production, because Plaintiffs have

provided enough alternative evidence for a reasonable jury to find that Defendants

decreased production in parallel. Two historical documents in the record—one

prepared by defendant Tyson, and the other by defendant Agri Stats—recorded

production cuts for all Defendants at issue on this motion except for Case, Foster,

Fries-Claxton, Harrison, and Tyson. See R. 6226 at 23. Even so, there is sufficient

evidence that those five defendants engaged in similar conduct. Although not

mentioned in the Tyson or Agri Stats documents, Case admits that it cut production

by 10% at one of its plants in 2011, decreased bird weight at its Winesburg facility

from May 2011 to May 2012, and reduced the number of birds at its Goldsboro facility

from September 2012 to February 2013. See R. 5928 at 5; R. 6399 at 5. Foster

abandoned a plan to build a new Broiler complex in Colorado on July 2, 2008. See R.

6226-3 at 72. And an internal Tyson email noted that Foster reduced production at is

Farmersville plant between March and July 2011. See R. 6239-4 at 257. Fries-Claxton

cut back production 6% in 2011. See R. 6226-3 at 74. Harrison cut production 5% in

2008 and another 5% in 2011. See R. 6226-3 at 72, 74. And a number of documents

show that Tyson made significant production cuts in 2008 and 2011. See R. 6226-3 at

72, 74; R. 6229-11 at 128-29. The inference that Defendants’ supply reductions would




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have then led to increased prices is an uncontroversial inference based on well-

established economic theory.

       Defendants argue that there are alternative explanations for the production

decreases and price increases. But like all circumstantial evidence, “parallel conduct”

always has an “alternative explanation.” Only direct evidence lacks an alternative

explanation. Potential alternative explanations are what makes it circumstantial.

See Fructose, 295 F.3d at 662 (“[Direct evidence] is evidence tantamount to an

acknowledgment of guilt; [circumstantial evidence] is everything else including

ambiguous statements. These are not to be disregarded because of their ambiguity;

most cases are constructed out of a tissue of such statements and other circumstantial

evidence, since an outright confession will ordinarily obviate the need for a trial.”).

       Furthermore, many of Defendants’ alternative explanations are based on the

economic conditions of the relevant time period. But Plaintiffs’ experts took economic

conditions into account in conducting their regression analyses, and determined that

market conditions were insufficient to explain the production decreases and price

increases but for a conspiracy.

       The parties have offered conflicting explanations for the apparent production

decreases. Some of these also appear very compelling. But it is not the Court’s

province to resolve such factual disputes. See Fructose, 295 F.3d at 655 (“In deciding

whether there is enough evidence of price fixing to create a jury issue, a court asked

to dismiss a price-fixing suit on summary judgment must be careful to avoid three

traps . . . . The first is to weigh conflicting evidence (the job of the jury)[.]”).



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      That being said, the economists’ opinions and the evidence of parallel

noncompetitive conduct alone are insufficient to prove a price fixing conspiracy.

Parallel conduct in particular can be the result of mere tacit collusion. To the extent

the Broiler industry is properly characterized as an oligopoly—where a small group

of producers control the market—tacit collusion would itself be unsurprising. See

Kleen, 910 F.3d at 931 (“Tacit collusion is easy in those markets[.]”). Tacit collusion

does not violate the Sherman Act—only express agreement is prohibited. And

generally, economic evidence (expert opinion and/or parallel conduct) merely

suggesting express agreement is insufficient by itself to prove a Sherman Act

violation by a preponderance of the evidence. See Fructose, 295 F.3d at 661 (“To

repeat, there is evidence that the defendants were not competing; we might go so far

as to say they had tacitly agreed not to compete, or at least to compete as little as

possible; but the plaintiffs must prove that there was an actual, manifest agreement

not to compete. Another and equivalent way to put this is that they must present

evidence that would enable a reasonable jury to reject the hypothesis that the

defendants foreswore price competition without actually agreeing to do so.”).

      As the Seventh Circuit explained in Fructose, non-economic evidence of express

agreement is generally necessary to prove a Sherman Act violation. The extent of

non-economic evidence necessary to satisfy the preponderance standard varies in

inverse proportion to the strength of the economic evidence; in other words, the

stronger the economic evidence, the weaker the non-economic evidence can be and

still demonstrate a conspiracy by a preponderance of the evidence. See Fructose, 295



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F.3d at 661 (“More evidence is required the less plausible the charge of collusive

conduct.”).

      Here, as in Fructose and Kleen, the economic evidence is relatively strong,

because the “charge is of a garden-variety price-fixing conspiracy.” Fructose, 295 F.3d

at 661. As discussed: (1) the Broiler industry is conducive to collusion; (2) unilateral

production cuts would generally be ineffective in raising prices suggesting that any

industry-wide production decrease is the product of agreement; and (3) the regression

analyses find that economic factors did not cause the production decreases. This

evidence strongly suggests the presence of an agreement. Nevertheless, some non-

economic evidence specifically indicating express agreement is necessary for

Plaintiffs to meet their burden to show that a reasonable jury could find by a

preponderance of the evidence that Defendants agreed to reduce production thereby

increasing the price of Broilers.

      D.      Non-Economic Evidence of Agreement

      In this case, the non-economic evidence of conspiracy takes the form of

suspicious statements by, and communications among, Defendants in emails and

various public statements. Of course, none of these documented communications are

the proverbial “smoking gun.” They all require inferences to conclude that Defendants

had an agreement to fix prices. But the necessity of inferences does not destroy the

evidentiary value of the documented communications. The question is whether, when

taken together with the economic evidence, the documented communications are of

sufficient evidentiary weight for a reasonable jury to find by a preponderance of the



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evidence that an agreement existed. See Fructose, 295 F.3d at 661 (“The question is

simply whether this evidence, considered as a whole and in combination with the

economic evidence, is sufficient to defeat summary judgment.”).

      By any measure, this is a massive case. With several thousand pages filed in

support of and in opposition to summary judgment, the Court was concerned that it

had as complete a grasp as possible of the evidence in the case. 5 To that end, the

Court held two full days of oral argument. The second day focused on issues regarding

individual defendants specifically, as opposed to the larger legal issues in the case

generally to which the first day was dedicated. In an effort to make that day as

efficient and productive as possible, the Court prepared a memorandum in advance

listing the evidence against each defendant the Court had been able to identify from

its review of the summary judgment papers. The Court emailed the memo to the

parties and ordered Plaintiffs to review the memo and present any additional

evidence at oral argument. See R. 6552. Defendants were ordered to prepare a

response to the evidence the Court identified. See id. The parties prepared

PowerPoint slides for each defendant listing any additional evidence and their

arguments. The Court has considered any additional record evidence identified by

Plaintiffs at oral argument, and Defendants’ counter arguments, in determining




5 “Summary judgment” addressed by this opinion consisted of: (i) eight separate
motions addressing various aspects of the case; (ii) a separate motion filed by each of
20 defendants addressing issues specific to that defendant; and (iii) ten Daubert
motions, totaling more than 1,500 pages of briefing. Additionally, the parties filed
statements of fact pursuant to Local Rule 56.1 totaling thousands of pages, which the
Court has not counted.
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whether Plaintiffs have met their burden of proof with respect to each individual

defendant. Any evidence the Court has considered is available on the docket. 6

       As discussed with the evidence of parallel conduct, Defendants have provided

an   alternative    explanation     and    contrary    evidence    for   the   documented

communications reviewed below. The Court’s job, however, is not to balance the

evidence on either side. See Fructose, 295 F.3d at 655. Rather, the Court must weigh

Plaintiffs’ evidence to determine whether, when taken in the light most favorable to

Plaintiffs, a reasonable jury could find the existence of an agreement to restrict

supply and increase price by a preponderance of the evidence.

              1.     Sufficient Evidence

       In the context of the economic evidence already discussed, and having reviewed

the evidence presented in the briefing and at oral argument, the evidence against the

following Defendants is sufficient for a reasonable jury to find by a preponderance of

the evidence that these defendants reached an agreement to restrict supply in order

to increase price: Tyson, Pilgrim’s, Sanderson, Harrison, Koch, Mountaire, Keystone,

OK Foods, Peco, Raeford, and Simmons. The following analysis does not document

every fact posited by Plaintiffs to support denial of summary judgment. The Court

only addresses the evidence sufficient to require denial. But as discussed below, there

are numerous examples of supposed competitors regularly exchanging sensitive



6 All that being said, it is the parties’ responsibility to highlight the material evidence

in their briefs and statements of fact. See Williams v. Bd. of Educ. of City of Chicago,
982 F.3d 495, 511 (7th Cir. 2020) “[A]s we have said on many other occasions, it is
not the role of the court to search the record to find support for a party's assertion. . . .
Judges are not like pigs, hunting for truffles buried in the record.”).
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production data with each other. A jury could find that such conduct is not the

behavior of active competitors.

      Tyson. After several years of abstaining, Tyson again subscribed to Agri Stats

in the fall of 2007. See R. 6415 at 12 (¶ 5). Seven months later, an internal Tyson

email noted “[r]estraint” in the industry and Tyson’s reluctance to join because “the

industry has always ‘backfilled’ our production cuts” in the past. See TF-0002728193.

In other words, Tyson had tried to unilaterally reduce market supply before, but its

competitors had always increased production to satisfy and take advantage of the

demand Tyson abandoned.

      The industry was aware of Tyson’s reluctance. Harrison’s board minutes from

August 21, 2008 record the following statement: “Tyson is holding out and refusing

to cut back as retribution to the industry for not cutting back with them last time the

industry was struggling and they lead [sic] the way with cut backs.” R. 6240-4 at 6.

However, by October 2008, Tyson was reaching out to its competitors. Don Tyson

wrote to Jim Perdue and Joe Sanderson stating, “I was wondering if we could join

together in some areas where our interests are aligned. We would ensure that

anything we do together would be strictly in compliance with all applicable laws and

our people would work together.” R. 6388-6 at 2. 7 Despite Tyson’s initial reluctance



7 This letter goes on to provide a list of potential “areas” of “review” including: “1.

Insurance; 2. Commodity Purchasing; 3. Pool buying; 4. Railroad/Transportation
Opportunities; 5. Exchange seat; 6. Join together on political issues affecting our
business.” R. 6388-6 at 2. And at his deposition, Joe Sanderson testified that he only
attended the meeting to be polite and did not believe it would be productive to
collaborate on any of these issues. See R. 5995-4 at 421-22. But the fact that the list
did not expressly include an item concerning “supply reduction” or “price fixing” is of
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to join the production decreases, it implemented a five percent production cut in

December 2008. See TF-0007881276. Tyson implemented further cuts in 2009.

      Tyson continued production cuts in 2011. These cuts were coupled with what

is known as Tyson’s “Buy-vs.-Grow” strategy. This is the name Tyson gave to its

practice of buying chicken from its competitors to satisfy its customers. Tyson

contends that this program was geared towards providing chicken parts Tyson was

short on, because of course chickens can only be grown whole, not for specific parts.

But the evidence suggests that Tyson used this program to manage overall supply

and encourage its competitors to join in that goal.

      In November 2011, Peco’s National Sales Manager offered Tyson a price of “10

cents back,” saying, “I know you’re the reason [the market is] tightening.” R. 6229-14

at 60. The following week, they reached a deal after Tyson responded by saying, “I

have taken care of you for 2 months brother, the market is going up daily making you

$$$.” R. 6229-14 at 62. Then in March 2012, Peco again offered to sell chicken to

Tyson at below-market prices explaining that “[i]f that’s what you have to have, I will

do it. Like I said, you are the reason for the season and I want you to continue doing

lots of business with me.” R. 6229-14 at 57.




similar evidentiary weight to the fact that the letter stated that anything they would
do together would be “strictly” legal. The weight of the letter is the fact one of the
largest producers in the industry was interested in reaching out to its competitors to
suggest joint action. In the context of other evidence, both economic and non-
economic, this letter could contribute to a reasonable basis for the jury to find that
Tyson reached an agreement with defendants with whom Tyson later exchanged
sensitive production information.
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       Another example of Tyson using Buy-vs.-Grow to manage market supply in

coordination with a competitor came on April 25, 2012. Pilgrim’s and Tyson’s buyers

communicated about Pilgrim’s sales to Tyson:

             Tyson:       Come [on] dude, I’m buying this stuff and
                          keeping it off the street, good for you, good for
                          the market.

             Pilgrim’s:   I agree, and it is working well between both
                          our companies . . . . Never quote you anything
                          more than what a trader is paying and keep
                          you a penny or 2 under what they can get it to
                          you for.”

R. 6229-14 at 52-55. These communications are evidence that Tyson was conspiring

with competitors to reduce supply under the guise of its “Buy-vs.-Grow” program.

Such collaborative action is not expected of active competitors.

      In light of these documented communication, Tyson’s application of the “Buy-

vs.-Grow” strategy appears to be a result of Tyson’s invitation in 2008 to its

competitors to “join together” where their “interest aligned.” Tyson of course has an

alternative explanation. But this evidence is sufficient for a reasonable jury to find

by a preponderance of the evidence that Tyson joined a conspiracy with its

competitors to reduce supply and increase price.

      Pilgrim’s. Pilgrim’s believed that it bore the brunt of the need for industry

production cuts in 2007. See R. 6229-14 at 14-15. As a result, Pilgrim’s sent strong

messages to its competitors at the beginning of 2008 through public statements that

its competitors needed to “pick-up a fair share in order for the production to come out




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of the system.” Id. By May 2008, Pilgrim’s knew that “about one-third of the total

industry volume has stepped up to the plate with production cuts.” R. 6406 at 8 (¶ 7).

      Then on June 10, 2011, Pilgrim’s was contacted by staff of Tip Top Poultry

(“Tip Top”), a company many defendants used to slaughter their breeder hens

(breeder hens cannot be sold as meat for consumption). Tip Top’s Advisory Board

included many defendants in this case. In 2011, Tip Top saw a dramatic increase in

breeder hen slaughter and contacted the Advisory Board members (including Wayne,

Mar-Jac, 8 Keystone, Harrison, Mountaire, and Case) to inform them and ask for their

assistance in processing the extra load. See R. 6247-5 at 42. Pilgrim’s was not on the

Advisory Board at this time (although it was later). But Tip Top forwarded the same

email to Pilgrim’s to ask for its assistance as well. See R. 6283-13 at 540. That email

explained that Tip Top was working to “to pull their breeder kill dates up closer so

that everyone can get breeders out of houses quickly. With the industry in its current

condition, the urgency has only increased. . . . [But] we believe their effort will help

the industry as a whole.” R. 6247-5 at 45. This email provided Pilgrim’s with

assurance that its competitors were working to reduce supply.

      With this renewed confidence, Pilgrim’s continued to work with competitors to

restrict supply into 2012. As discussed, Pilgrim’s and Tyson buyers communicated

about Pilgrim’s sales to Tyson through its Buy-vs.-Grow program on April 25, 2012.




8Mar-Jac settled the claims against it that would have been at issue here on summary
judgment.
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See R. 6229-14 at 52-55. In a similar vein, a Pilgrim’s executive relayed the following

communication in an internal email:

             I received a call today from a friendly competitor telling me
             it’s all over the market that Pilgrim’s is taking contract
             pricing up. They thanked us for taking the lead and told
             me that contrary to what we might hear regarding their
             company, they are following as are others. Courage . . . keep
             it up guys.

R. 6229-15 at 193 (ellipses in original). That email was followed with another stating,

“Do not [forward]. [N]ot exactly a legal conversation.” Id. (emphasis added).

      As with Tyson, Pilgrim’s communications are a sufficient basis for a reasonable

jury to find by a preponderance of the evidence that Pilgrim’s conspired with its

competitors to reduce supply and increase price.

      Sanderson. On an August 2008 earnings call, Sanderson announced a

production cut and called on the industry to cut. R. 6270-4 at 308 (“So long as this

weakness continues, the poultry industry will need to cut production further to bring

supply in line with demand. . . . I believe it will take another round of production cuts

this fall to bring supply into balance with weak demand.”). Documented

communications show Sanderson sharing production information with competitors

Perdue and Peco. See R. 6226-6 ¶ 171.

      In addition to emailed communications, Sanderson shared its Agri Stats

reports with Pilgrim’s and Perdue. See R. 6227 at 639 (Q: “How many times would

you estimate you shared Agri Stats numbers with Perdue during your tenure at

Sanderson? Would you say it was more than 20 times?” A: Possibly.”); id. at 633 (78:1-

2) (“I exchanged some Agri Stats information with competitors, yes.”); id. at 684

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(282:12-15) (Q: “During your time at Sanderson, did you share Agri Stats information

with competitors?” A: “I shared information with Perdue and some with Pilgrim’s.”).

Apparently based on those reports, and potentially others, Sanderson’s CEO stated

the following on a December 2009 earnings call:

            We cut back significantly for four months last year . . . . It
            makes no sense for us to ramp up. Basically what we see
            out there is a year of demand similar to 2009 and there’s
            not reason to ramp up, and my judgment is that based on
            what I see in Agr[i] [S]tats nobody is planning on, [sic]
            pullet placements say no ramp up and what I’ve gleaned
            from Agr[i] [S]tats, people are not planning on ramping up.
            I see a lot of information from Agr[i] [S]tats that tells me
            that nobody is going to ramp up.

R. 6229 at 146.

      On a May 24, 2011 earnings call, Sanderson’s CEO again said that production

cuts by the industry were necessary and he believed they would be “forthcoming.” R.

6229-14 at 19. Sanderson subsequently communicated production plans with Peco in

September 2011 and with Raeford in December 2012. See R. 6228-5 at 139 (Peco); R.

6227-10 at 82.

      The extent of production information sharing by Sanderson, and the confidence

of Sanderson’s CEO with respect to predicted production cuts, are sufficient facts

from which a jury could reasonably infer by a preponderance of the evidence that

Sanderson conspired with its competitors to reduce supply and increase price.

      Harrison. As noted with reference to Tyson, Harrison’s August 2008 board

minutes record Harrison’s CEO stating that “Tyson is holding out and refusing to cut

back as retribution to the industry for not cutting back with them the last time the



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industry was struggling and they lead the way with cut backs.” R. 6240-4 at 6. This

statement is strong evidence that Harrison believed that Broiler producers had

agreed to reduce supply at Tyson’s behest. Harrison reduced supply in the context of

this information.

      Harrison was a member of the Tip Top Advisory Board and was copied on the

May 31 and June 16, 2011 emails from Tip Top that were later forwarded to Pilgrim’s.

The email of May 31, 2011 informed Harrison and the rest of the Advisory Board that

“I bring good news: we are running full and working extra time to provide the kill

capacity that you need. Our suppliers are sending us more breeders and younger

breeders.” R. 6247-5 at 42. Then on June 16, 2011, Harrison received the email stating

that Tip Top was working to “to pull their breeder kill dates up closer so that everyone

can get breeders out of houses quickly. With the industry in its current condition, the

urgency has only increased. . . . [But] we believe their effort will help the industry as

a whole.” R. 6247-5 at 45. A reasonable inference can be drawn that Harrison and the

other defendant-producers who received this email were assured that their

competitors were planning to reduce supply.

      But not only did Harrison just receive these emails, Harrison’s CEO apparently

had helped Tip Top staff prepare the “plan” they proposed for slaughtering breeder

hens in those emails. In an email to Tip Top in response to the June 16 email,

Harrison’s CEO indicates that he had suggested the plan to Tip Top in order to

reassure the other Advisory Board members that it was safe to slaughter their

breeder hens and reduce supply. See R. 6227-9 at 28 (“This accomplishes most of the



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objective . . . . getting hens killed so they can’t lay eggs.) (ellipses in original); see also

id. (“By having a drastic plan with a volunteer already willing . . . . you’re [sic] plan

will be better accepted now than had it been your first volley.”).

       A week later, Harrison’s CEO forwarded emails to Fries-Claxton with “good

news” that producers were “getting extra hens out of the field to finally reduce

supply.” R. 6227-9 at 40-41. And a month later in another email, Harrison’s CEO

confirmed to Fries-Claxton that Harrison was in “cutback mode.” R. 6240-4 at 11.

Harrison’s CFO testified that this information about supply was “private Harrison

information” that should not have been “shared.” R. 6240-4 at 355 (64:4-11).

Additionally, in December 2011, another Harrison employee, who later became CEO,

communicated with a Peco employee about their companies’ respective production

numbers and plans. See R. 6240-4 at 381-82.

       These email communications, in the context of the economic evidence, are

sufficient evidence for a reasonable jury to conclude by a preponderance of the

evidence that Harrison conspired with other defendants to reduce the supply of

Broilers in order to increase the price.

       Koch. In January 2008, Koch publicly announced a production cut. See R.

6228-6. In June of that year, Koch confirmed its production in an email to Peco. See

R. 6241-4 at 546. And later in October 2008, Koch told Peco that it was “depopulating

some breeder hens in line with Sanderson’s request.” R. 6241-4 at 571.

       Similar to 2008, in July 2011, Koch’s CEO told industry media that Koch would

be cutting production and called on the industry to cut production as a whole. See R.



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6228 at 89-90. There is evidence that prior to this announcement, Koch

communicated with Peco, Wayne, and Tyson about their production plans. See R.

6226-17; R. 6241-4; R. 6012-14; R. 6274-2. Then in October, Amick 9 sent Koch its Agri

Stats report with the comment, “we might be able to figure out who some of these are

by comparing,” and Koch’s CEO responded by promising to send Koch’s Agri Stats

report to Amick. R. 6228 at 83. Finally, in January 2012, an internal email shows a

Koch employee reacting to a proposed price increase by stating that “Pilgrim only

asked for $.15 and will settle for what sticks.” R. 6229-14 at 50.

      The extent of public and private communications about plans to reduce supply,

and particularly the exchange of Agri Stats reports, is sufficient evidence for a

reasonable jury to find by a preponderance of the evidence that Koch joined a

conspiracy to reduce supply.

      Mountaire. There is evidence that Mountaire reduced production in 2009. And

in an internal email in December 2009, a Mountaire employee stated that Mountaire

and Case were “trying to work this [market] up together.” R. 6235-6 at 14.

      In 2011, Mountaire was copied on the emails from Tip Top in which Tip Top

communicated to its Advisory Board that the industry was working to slaughter

breeder hens early and at higher rates. Prior to those emails in May 2011,

Mountaire’s vice-president of marketing emailed Tyson to say he “hoped” that Tyson

was “cutting back.” R. 6228-4 at 47. This communication with Tyson continued after




9 Amick is a defendant that has settled the claims against it that would have been at

issue on these motions for summary judgment.
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the Tip Top emails. The Mountaire employee told Tyson that “the overall industry

would have been a whole lot better off with less chicken on the market” if Mountaire

had been successful in acquiring the assets of another producer and been able to

decrease production there. See R. 6229-6 at 129. The Mountaire employee explained

further that “Mountaire was trying to do our part to reduce . . . supply.” Id. He then

asked whether there was “any truth to the speculation that [Tyson is] making some

adjustments to the supply side of [its] chicken business.” Id. During this time period,

Mountaire employees were deanonymizing Agri Stats reports. See R. 6228-4 at 23-24;

R. 6226-20 at 1263-64, 1281-82 (109:12-111:20, 181:9-182:2).

      This documentary evidence from Mountaire is in line with the evidence that

Tyson had communicated to the rest of the industry that production cuts were needed

but that Tyson needed to see its competitors cut first before Tyson took action. This

evidence is sufficient for a reasonable jury to find that the industry took heed of

Tyson’s directive and worked to find ways to cut production, and then inquired of

Tyson as to whether Tyson believed these efforts were sufficient. In the context of the

economic evidence, a jury could reasonably make the further inference that

Mountaire eventually reached agreement with other defendants to cut production in

order to increase prices.

      Keystone. Like Fieldale, Harrison, Koch, and Mountaire, Keystone was on the

Tip Top Advisory Board and was copied on the May and June 2011 emails describing

the increase in demand for breeder hen slaughter. Keystone also communicated

directly with competitors about production: in February 2011 with Case, see R. 6385-



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1 at 11 (¶ 6); in April 2011 with Tyson, see R. 6385-1 at 50 (¶ 46); and again in March

2012 with Wayne, see R. 6385-1 at 17 (¶ 12).

      Keystone contacted Case in order to “determine good % produced goals for

plants.” See R. 6385-1 at 11 (¶ 6). Like other Defendants, Keystone communicated

with Tyson to assure Tyson that its leadership in production cuts was appreciated

and reciprocated. See R. 6385-1 at 50 (¶ 46) (“Keystone appreciated the ‘system first’

leadership that Tyson continues to display.”). And after attending an industry

conference in October 2011, a Keystone executive shared the following observation

internally: “the mood of the industry continues to be somber with heavy losses and

continued oversupply. There appears to be some reduction planned for next spring.”

See R. 6385-1 at 30 (¶ 23).

      The extent of these communications, in the context of the economic evidence,

is sufficient for a reasonable jury to find by a preponderance of the evidence that

Keystone also joined the alleged conspiracy to reduce supply and increase price.

      OK Foods. OK Foods publicly announced production cuts twice in 2008. See

R. 6242-4 at 455 (51:22-52:8). There is evidence that OK Foods shared production

information with other Defendants during the relevant time periods. In January

2008, defendant George’s 10 sent its production information to OK Foods. See R. 6242-

7 at 212. In May 2008, OK Foods CEO emailed a financing company a “rumor” that

Tyson would not reduce production because Tyson believes “it is others [sic] turn.” R.




10 George’s has settled the claims against it that would have been at issue in these

motions.
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6242-4 at 742. In August 2008, OK Foods’s vice-president of production attended a

fishing trip with representatives from Sanderson, Perdue, Mountaire, and Pilgrim’s.

The Perdue employee took notes stating that Sanderson and Mountaire shared

production information during the trip, and OK Foods’s vice-president suggested the

representatives visit each others’ facilities to learn about production and explained

that he knew “a lot about Pilgrim’s operations” from an earlier visit. See R. 6234-11

at 14-17; R. 6226-19 at 426-27 (135:22–139:15). In September 2008, the CFOs of OK

Foods and Simmons emailed about making plans to meet to “figure out next moves.”

R. 6242-4 at 466-67; R. 6242-7 at 218. And internal OK Foods emails from February

2009 reflect OK Foods’s communications with Pilgrim’s about production plans. See

R. 6242-6 at 6.

      OK Foods again communicated with defendant-competitors beginning in 2010.

In December 2010, OK Foods CEO told defendant Simmons “very confidentially,

effective the first week of February we are going to cut off one shift at one plant and

raise bird weights a little and want to give you a heads up.” R. 6242 at 8; see also R.

6229-3 at 10 (Simmons learned on March 20, 2011 that OK Foods will cut 25%). There

is also evidence that OK Foods shared production information in this time period with

defendants Peco, Raeford, and Wayne. See R. 6242-6 at 145; R. 6227-3 at 9. Although

OK Foods was not a member of the Tip Top Advisory Board when the emails discussed

above were sent in 2011, it had joined by 2012. See R. 6361 at 17 (¶13). There is also

evidence that OK Foods was deanonymizing Agri Stats reports. See R. 6226 at 58.




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      The documentary evidence shows regular communication between OK Foods

and its competitors about production plans. While none of these documented

communications directly refers to or describes an agreement among Defendants, in

the context of the economic evidence indicating opportunity and incentive to collude,

they are a sufficient basis for a reasonable jury to infer by a preponderance of the

evidence that OK Foods reached an agreement with other defendants to restrict

supply and increase price.

      Peco. The evidence that Peco communicated about supply plans with its

competitors is primarily testimony rather than the documented communications

reviewed so far. Peco’s COO testified that it was regular practice for Broiler producers

to exchange their production plans. See R. 6226-17 at 200 (81:1-22) (Q: “So if a

competitor called and asked whether Peco was cutting back, you would provide them

an answer?” A: “Most of the time, yes.” Q: “And would you ask them to reciprocate

and tell you whether they were cutting back?” A: “I would ask that question.”). Peco’s

COO confirmed that he had communicated with, or that it was possible he had

communicated with, several of the defendants in this case. See id. at 201 (83:7-11)

(Sanderson, Case, Wayne); id. at 219 (155:20-24) (Simmons); id. at 219 (156:21-25)

(Mountaire).

      In addition to this testimony, there is documentary evidence that Peco sold

chicken to Tyson at below market rates because of Tyson’s efforts to reduce supply in

the market. As discussed in analyzing Tyson’s motion, in November 2011, Peco’s

National Sales Manager offered Tyson a price of “10 cents back,” saying “I know



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you’re the reason [the market is] tightening.” R. 6229-14 at 60. The following week

they reached a deal after Tyson responded by saying, “I have taken care of you for 2

months brother, the market is going up daily making you $$$.” R. 6229-14 62. Then

in March 2012, Peco again offered to sell chicken to Tyson at below-market prices

explaining that “[i]f that’s what you have to have, I will do it. Like I said, you are the

reason for the season and I want you to continue doing lots of business with me.” R.

6229-14 at 57.

      Testimony that Peco regularly exchanged production information with

competitors indicates a willingness to reach a broader agreement to restrict supply.

The reasonable inference from the communications with Tyson are that Peco reached

such an agreement. With this evidence a reasonable jury could find by a

preponderance of the evidence that Peco conspired with its competitors to reduce

supply and increase price.

      Raeford. In August 2008, Raeford publicly announced that it would reduce its

production by 5%, even though as a private company it was under no reporting

obligation. See R. 6236-4 at 131. In considering this production cut, an internal

Raeford email noted that the cut “would only help the tone of the market and may be

a good political thing in our industry.” R. 6236 at 1. In announcing the cut, Raeford

stated that the cut was made to help “the industry” bring “supply . . . in line with

demand” and to “contribute to more stable market conditions.” R. 6236 at 1. This cut

is followed by documented communications regarding pricing from Raeford to

competitors Cagle’s in February 2009 and Case in November 2009. See R. 6227-10 at



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69 (Cagle’s); R. 6227-10 at 63 (Case). (Cagle’s is a Broiler producer, but Plaintiffs did

not bring any claims against it.)

       On January 4, 2011, Raeford told competitor Cagle’s that, “just between us”

Raeford’s owner had called for a production decrease, and that it would be

implemented “to some degree at each location.” R. 6236 at 6. Later in January,

Raeford told staff at the Urner Barry price index that “everyone” in the industry “is

finally reducing weights and headcounts.” R. 6236 at 6. 11 There is also evidence that

Raeford told other competitors about its production plans because Mar-Jac and Amick

discussed Raeford’s plans in an email in February 2011. R. 6236 at 6. Raeford publicly

announced a production cut in March 2011. See R. 6227-10 at 71. Later in August

2011, Raeford communicated to Case that “one more round of cuts on placements

would do the trick,” referring to production cuts. See. R. 6227-3 at 31. Raeford then

had further communications with Urner Barry in an attempt to learn about and

communicate production plans with competitors. See R. 6236-4 at 217.

       The regularity of Raeford’s communications with its competitors about

production plans indicates a desire to reach agreement in the industry. A reasonable

jury could infer from this evidence that an agreement in fact existed, and that Raeford

was a part of it.

       Simmons. In April 2008, Simmons announced production cuts even though it

had no legal obligation to report such information. Additionally, Simmons’s president



11 Along with the USDA index, the Urner Barry price index is one of the two primary

price indexes for Broilers. The Georgia Dock was the third, but it was discontinued
after events that are part of Plaintiffs’ claims in this case and will be discussed below.
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testified that he may have told competitors about Simmons’s production plans “in

passing.” R. 6226-19 at 720 (139:3–140:6).

      In 2010, Simmons received “confidential” production information from OK

Foods. See R. 6229-5 at 17. In June 2011, Simmons received information from Tip

Top and Southern Hens (another breeder slaughter business) that many competitors

were slaughtering high numbers of breeder hens and asking Simmons to provide their

slaughter plants for this extra business. See R. 6233-1 at 6-7 (¶¶ 22-26). Peco’s COO

testified, and Tyson internal documents show, that Tyson received production

information from Simmons. See R. 6233-at 4 (¶ 12).

      In June 2011, a Simmons internal document stated, “Rumor is the industry

supply cut will be in the 5-7% range. We will need that to reduce boneless supply by

approximately 10%.” R. 6229-5 at 3. The document continued, “We are hearing from

multiple sources, seeing the hatch egg market go to 0$ per dozen, and custom

processing hens for Southern Hens to validate there is a supply cut occurring.” Id.

Simmons’s president testified that this reference to “multiple sources” included

information learned directly from competitors. See R. 6233-04 at 39 (83:13–85:4); R.

6227 at 224 (147:18–148:10).

      This evidence of communications about production among Simmons and its

competitors permit the reasonable inference that Simmons agreed with Defendants

to reduce supply in order to increase the price of Broilers.




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             2.     Insufficient Evidence

      Unlike the evidence relevant to the foregoing defendants, the Court finds that

there is insufficient evidence for a reasonable jury to find by a preponderance of the

evidence that the following producer defendants joined a conspiracy: Perdue;

Fieldale; Case; Foster; Fries-Claxton; and Wayne. Although the economic evidence

showing opportunity and incentive to conspire applies to these defendants just as it

does to the defendants discussed above, there is simply a lack of evidence that these

defendants communicated with their competitors, which would permit a reasonable

inference of agreement. To be sure, some of the documented communications

discussed above mention these six defendants. But as will be explained below, none

of those documented communications include statements by or from these five

defendants, and so are insufficient to infer action by these defendants to join a

conspiracy. This difference is subtle yet critical. Plaintiffs have had years to find

additional evidence to bolster the evidentiary weight of the evidence discussed below.

Nothing has come of their discovery efforts with respect to these six producer

defendants. Therefore, the evidence is too weak to meet Plaintiffs’ preponderance

burden and summary judgment must be granted in the six defendants’ favor.

      Perdue. As discussed, in 2008, Don Tyson sent a letter to Joe Sanderson and

Jim Perdue inviting them to “join together.” R. 6388-6 at 2. This letter is strong

evidence against Tyson because it is direct evidence of Tyson’s intent. But there is no

evidence in the record that Perdue accepted the invitation to act jointly.




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      To be sure, Perdue attended the suggested meeting with Tyson and Sanderson.

But this is only one instance of the many regular meetings and communications

executives of the defendants producers had with each other. These meetings and

communications, however, merely provided the opportunity to conspire. Absent direct

evidence of agreement, there must be some evidence that each defendant in question

took some action from which agreement to restrict supply can be inferred. The most

common such evidence in this case being documented communications in which a

defendant revealed sensitive production information to a competitor. The defendants

discussed above all took such action. Mere opportunities to communicate such

information—whether in the form of the Tyson letter; the meeting between Tyson,

Sanderson, and Perdue; the many industry conventions and junkets; or information

merely received from competitors—are insufficient to infer the act of entering into an

agreement. Without evidence of such action, the Court finds that a reasonable jury

could not infer an agreement to reduce supply and increase price by a preponderance

of the evidence.

      Perdue was also a member of the Tip Top Advisory Board, and so received the

email communications from Tip Top staff in 2011 with information about increased

breeder hen slaughter. But again, there is no evidence that Perdue directly acted on

this information.

      Plaintiffs identify five documented communications they argue demonstrate

that Perdue joined the alleged conspiracy among Defendants. First, Plaintiffs point

to an email from Perdue to Sue Trudell of EMI (an Agri Stats subsidiary that is not



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a defendant in this case) attaching a spreadsheet with detailed information about the

magnitude and timing of Perdue’s 2008 production cuts and competitors’ 2008

production cuts, including some cuts that were listed as “not announced.” See R. 6227-

1 at 37-38. But there is only one production cut listed as “not announced” (Keystone’s),

and the heading of the chart is “cutbacks announced publicly.” Plaintiffs argue that

it is appropriate to infer that Perdue had communicated with Keystone to learn this

information and argue further that it is reasonable to infer an agreement to restrict

production from this one supposed communication. The Court finds these proposed

inferences too tenuous.

      Plaintiffs next note that after attending a fishing trip with other defendant

producer executives, a Perdue executive returned with information about Perdue’s

competitors’ production goals, supply cuts and target bird weights. See R. 6234-11 at

15-18. But this document memorializes what Perdue learned from its competitors. It

is not direct evidence that Perdue asked for this information or gave any information

to its competitors; an inference is necessary to reach that conclusion. And then

another inference would be necessary from the exchange of information to find that

a conspiratorial agreement had been reached. This document is certainly relevant to

the issue of whether an agreement existed. But it alone is an insufficient basis to find

that Perdue was part of that agreement by a preponderance of the evidence.

      Similarly, Perdue had a conversation with Fieldale about the potential effect

of supply cuts in February 2012. A Perdue executive stated, “Still waiting for these

cutbacks to take hold so maybe we can make some money here”; and a Fieldale



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executive replied, “hoping companies continue the cutbacks and do not try to get

ahead of everyone and ramp up production again.” See R. 6247-5 at 55. This email is

evidence that Perdue and Fieldale were aware that the industry was cutting

production. Neither Perdue nor Fieldale communicate their own production plans in

this email. They do not discuss the specific production plans of any other defendants.

They simply make observations about the state of the market. Considering the

limited substance of the email, too many inferences are required to find that Perdue

agreed with other defendants to restrict supply based on this email.

      Plaintiffs also point out that Perdue asked Agri Stats to “pass the word you

need to create demand before you supply the product.” R. 6234-11 at 30. But this

email was in response to an email from Agri Stats suggesting that the industry

needed to cut supply. As the Court will address in more detail below with respect to

Agri Stats, general advice regarding supply and demand is not evidence of a

conspiracy. And Perdue’s email here is not an attempt to create an agreement. It is

simply a reaffirmation of the advice Agri Stats had provided.

      Plaintiffs note that Perdue directed its employees to examine Tyson’s earnings

call “for production cuts and increases and major news topics.” See R. 6229-11 at 131.

But to the extent this can be construed as an attempt to conform conduct to a

competitor’s, thereby implying agreement—which is an unreasonable stretch—it is

equally consistent with an intent to compete with Tyson.

      While the Court has separately analyzed the relevance of each piece of

evidence, the Court considers the totality of the evidence in determining whether it



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is sufficient to defeat summary judgment. See Fructose, 295 F.3d at 655 (“The second

trap to be avoided in evaluating evidence of an antitrust conspiracy . . . is to suppose

that if no single item of evidence presented by the plaintiff points unequivocally to

conspiracy, the evidence as a whole cannot defeat summary judgment.”). The

evidence against Perdue all shows that Perdue was aware it had the opportunity to

join other defendants in a conspiracy to restrict supply. But there is no evidence that

Perdue took an action to join any such agreement. Taking the evidence “as a whole,”

it is simply not of the same weight as the evidence reviewed above with respect to

other defendants, and it is insufficient for a reasonable jury to find by a

preponderance of the evidence that Perdue conspired with its competitors.

      Fieldale. Fieldale made public statements to industry media the “industry

would be better off” if “everybody” cut production like Fieldale had. R. 6247-5 at 14.

Fieldale’s president also testified that he communicated this belief directly to his

competitors when he “encouraged” the industry “to cut production in order to raise

prices” at an industry conference in January 2009. R. 6247-4 at 618 (103:4-7). There

is also evidence that Fieldale employees had been informed that Fieldale was aware

that “the industry” was engaged in supply cuts. See R. 6247-5 at 52 (“I thought the

entire industry was supposed to be cutting back as well.”).

      Additionally, as a member of the Tip Top Advisory Board, it received the 2011

emails from Tip Top staff discussed above. See R. 6247-5 at 42, 45. And as discussed,

a Fieldale executive communicated with Perdue about the anticipated supply cuts.

See R. 6247-5 at 55.



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      But as with Perdue, none of this evidence indicates that Fieldale acted to join

a conspiracy. The evidence suggests that Fieldale was aware that its competitors

were cutting supply. But there is no evidence that Fieldale was part of any agreement

to do so. There was no evidence of the sharing of its own sensitive data, but rather

just the generalized statements noted above. Therefore, a reasonable jury could not

find by a preponderance of the evidence that Fieldale joined an agreement to restrict

supply and increase the price of Broilers.

      Case. Plaintiffs offer only three documented communications they contend

demonstrate Case’s agreement to participate in the alleged conspiracy. The first is a

statement from Bill Lovette who at various times was a senior executive at Tyson,

CEO of Pilgrims, and president of Case. On a Pilgrim’s earnings call on April 27,

2012, Lovette stated that he was “comfortable” that the industry would “remain

constrained.” See R. 6228-7 at 34. This is a public statement about the state of the

industry when Lovette worked for Pilgrim’s. It does not mention Case and is

irrelevant to whether Case agreed to conspire with other defendants. Plaintiffs argue

that an adverse inference should be drawn against Case based on Lovette invoking

the Fifth Amendment at his deposition and refusing to answer questions about his

work for Case. But Lovette clearly refused to testify because he was being criminally

investigated on charges of bid-rigging for his work at Pilgrim’s. That criminal case

was only tangentially related to the allegations in this case. It is not a basis for an

adverse inference against Case.




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      The second documented communication is an email from a Raeford employee

sent to a Case employee stating with respect to pricing for a certain customer, “I can

promise you that I won’t participate close to those numbers” in reference to prices

being requested by a customer, to which the Case employee responded, “Got it . . .

we’re on the same page.” R. 5940-70 at 2. To the extent an agreement could be inferred

from the comment about “being on the same page,” the Raeford employee sends a

follow-up email breaking the agreement a day later. This email chain is hardly

evidence of agreement between Raeford and Case, let alone Case and the entire

industry.

      The third documented communication is again between the same Raeford and

Case employees. On August 17, 2011, the Raeford employee wrote in an email that

“supply is just a little better than demand,” and “one more round of cuts on

placements would do the trick.” R. 6227-3 at 31. To the extent an agreement about

supply reduction can be inferred from this statement, it is a statement by Raeford to

which Case does not respond. An inference of agreement by Case through a statement

made to it by an alleged co-conspirator could only be imputed to Case if there was

additional evidence against it establishing its membership in the conspiracy. But this

is the only potential evidence of a conspiracy. And the contents of the proffered

statements alone are not sufficient to establish the existence of a conspiracy and

Case’s participation. See United States v. Harris, 585 F.3d 394, 399 (7th Cir. 2009)

(“[T]he record must contain at least some facts confirming the existence of the

conspiracy and [the defendant’s] participation in it before we could find the disputed



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portions of [the co-conspirator’s statement] admissible under Rule 801(d)(2)(E).”).

There must also be some supporting evidence corroborating Case’s participation in

the conspiracy, and Plaintiffs have none. 12

      Fries-Claxton. The only evidence Plaintiffs’ cite of Fries-Claxton’s agreement

to conspire is an internal text message from November 2012 in which a Fries-Claxton

employee relays a conversation he had with a Pilgrim’s employee about pricing. The

Fries-Claxton employee says the Pilgrim’s employee urged Fries-Claxton to “raise our

prices,” and the response from Fries-Claxton was, “we are trying.” R. 6238-5 at 108.

      Certainly, this text message is evidence that Fries-Claxton communicated with

Pilgrim’s about pricing, and an inference can be drawn that the two companies

believed it was in their best interest to work together to raise prices. But the principal

claim in this case is that Defendants conspired to reduce supply. And the economic

evidence in this case shows that supply was reduced in 2009 and 2012. To infer a

supply reduction conspiracy that resulted in a production decrease in 2012 from a

text message about pricing that was sent at that end of 2012 is an unreasonable

inference. In this case, there is of course only circumstantial evidence that

Defendants conspired. So, there is always one level of inference necessary to find a

conspiracy. Here, Plaintiffs would ask the jury to make an additional inference from

a single pricing conversation to an agreement to reduce supply. Further, the jury

would be required to infer that a communication from the end of 2012 is indicative of



12 As noted above, Peco’s COO testified that it was possible he communicated with

Case. See R. 6226-17 at 219 (155:20-24). This is not evidence of what Case may have
communicated to Peco, and so it cannot contribute to an inference of conspiracy.
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an agreement that is alleged to have been established at least a year earlier. And

these are only the subject matter inferences. There remains the ultimate inference of

an industry-wide conspiracy. This one text message is simply an insufficient basis for

a reasonable jury make such a finding.

      Wayne. Plaintiffs cite a number of documents they argue constitute evidence

that Wayne agreed with its competitors to reduce supply. Most of these documents,

however, are evidence of Wayne’s supply reductions or evidence that Wayne attended

industry meetings and events. The Court has already found that there is evidence

that Wayne acted in parallel with other defendants to reduce supply. And nearly all

defendants attended industry meetings. Neither is sufficient evidence of agreement

without evidence of communication.

      Plaintiffs argue that evidence relevant to the allegation that Wayne reached

an agreement with its competitors is contained in the following documents: (1) an

internal report in which Wayne’s CFO noted in that “larger players in the industry

communicating and acting more disciplined”; (2) emails Wayne received as a member

of the Tip Top Advisory Board noting the industry was “pressing . . . hard” for greater

breeder hen kill capacity; and (3) an email from Sanderson veterinarians indicating

that Sanderson was in possession of at least part of Wayne’s Agri Stats report

regarding chicken vaccination. The first two indicate that Wayne knew most of the

industry was reducing supply and at least the “larger” companies had communicated

and were working together in that regard. It is possible that a producer who knows

that its competitors are conspiring would want to join that conspiracy. But it is



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equally possible that the producer would decide to remain on the sidelines and reap

the benefits of decreased supply without risking the legal peril of joining the

conspiracy. Merely observing in an internal email what the larger players are doing

is not enough.

      The evidence that Sanderson possessed a part of Wayne’s Agri Stats report,

however, is evidence that Wayne communicated with a competitor about its business.

Such a communication is unlikely without a reciprocal agreement. Plaintiffs,

however, have the burden to show that Wayne joined a conspiracy to reduce supply,

and there are too many inferences required from the Sanderson email to reach that

conclusion. The extensive discovery conducted in this case apparently did nothing to

turn the inference into evidence. The email does not reveal whether Sanderson had

the full report or only the portions about vaccination data discussed by the

veterinarians. Even if Sanderson had the full report, the email does not indicate

whether Wayne was the source of the report or whether Sanderson obtained the

report without Wayne’s cooperation. Only if Wayne provided the report, and the

report contained information about production, can the inference be reasonably made

that Wayne joined a conspiracy (at least with Sanderson). These inferences are too

attenuated to satisfy Plaintiffs’ burden to defeat Wayne’s motion for summary

judgment. If Plaintiffs had discovered documentary evidence that Wayne

communicated with its competitors—as Plaintiffs discovered with many other

Defendants—then the Sanderson email, combined with the evidence of Wayne’s

knowledge of a conspiracy embodied in the Tip Top emails and the internal report



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might have been sufficient to defeat summary judgment. But without evidence of

communication that requires fewer inferences than are required to find that existence

of an agreement from the Sanderson email, the Court cannot say that a reasonable

jury could find by a preponderance of the evidence that Wayne joined a conspiracy to

reduce supply.

      Foster. Plaintiffs cite no evidence that Foster joined the alleged conspiracy at

any point in time. The Court noted this absence of evidence in the memo it provided

to the parties. Plaintiffs responded by pointing out, without elaboration, that Foster

“changed practices” during the 2008-09 period. R. 6607 at 50. Such a bare assertion

has no evidentiary value.

      Plaintiffs also argued that a reasonable inference can be drawn that Foster

joined the conspiracy because in October 2010, Foster told “meatingplace.com” that

it “decided it will not increase production at its Farmerville, LA, poultry complex, as

earlier planned.” R. 6239-4 at 264. Plaintiffs argue that since Foster is not a public

company, this public statement can be construed as “sharing plans” with its

competitors, from which an agreement to join the alleged conspiracy can be inferred.

But this statement is not from a Foster document. It is from a document titled “Trader

Joe’s: Cost of Grain 2011 Outlook,” with a sub-heading of “Coleman Natural.” This

document in turn quotes what is apparently an industry reporter called

“Meatingplace,” which in turn quotes a statement from Foster “emailed to

Meatingplace.” This is hearsay and the Court will not consider it. In any case, Foster

making a public statement to industry media about its plans that is not plainly



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directed at its competitors, is, by itself, an insufficient basis to infer that Foster joined

a conspiracy.

       Similarly, Plaintiffs cite an email from grower Cobb Vantress to Tyson noting

that it experienced customer cutbacks in 2011 including by Foster. See R. 6226-5 at

32. This is hearsay with respect to Foster. Further, it is merely evidence that Foster

cut production in parallel with other Defendants. It is not evidence that Foster

communicated with its competitors about those cuts. It is therefore not evidence that

Foster’s cuts were the result of a conspiracy to restrict supply.

       When pressed on this point, Plaintiffs’ counsel argued that Defendants’

participation in Agri Stats is “plus conduct” sufficient to establish that Defendants

conspired to reduce supply of Broilers. See R. 6607 at 51-52; see also R. 6226 at 47

(arguing that “data sharing via Agri Stats is indicative of agreement”). But not even

Plaintiffs argue that participating in Agri Stats alone is sufficient to establish an

intent to conspire. Rather, Plaintiffs argue that deanonymizing the reports is the

evidence that shows that Plaintiffs agreed to restrict supply. However, Plaintiffs do

not contend that Foster did this. See R. 6226 at 58 (listing the Defendants that

Plaintiffs contend deanonymized Agri Stats reports). In any event, the Court would

be hard pressed to find that deanonymizing Agri Stats reports alone would be

sufficient evidence to reasonably infer a conspiracy. Attempting to deanonymize Agri

Stats reports is simply a rational response of competitors trying to gain an advantage

over each other. Unlike the evidence of direct exchange of Agri Stats reports by other

defendants, deanonymization is not evidence of agreement.



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      Plaintiffs’ argument boils down to the idea that it is irrational to divulge

detailed information to Agri Stats knowing that your competitors can deanonymize

it and use it against you. But what is irrational is to refrain from participation in Agri

Stats when all your competitors are doing so. Greater information exchange alone

does not demonstrate a conspiracy. With the information exchange provided by Agri

Stats creating the baseline in the Broiler industry, competing businesses

participating in Agri Stats could believe that they had to participate in order to keep

pace with their competitors and that they would need to work harder to make sure

that they took better advantage of the information in the reports than their

competitors. The act of trying to deanonymize information in the Agri Stats reports

is not evidence of a conspiracy—it is additional evidence that the Broiler industry

was ripe for conspiracy. But that fact has already been well established by the

economic evidence in this case. What is lacking here with respect to Foster is evidence

suggesting that it accepted the invitation to conspire. 13

                                  *     *        *    *

      Having addressed the evidence against all the producer defendants it remains

only for the Court to assess the evidence against Agri Stats. Before doing that, the

Court notes that the line the Court has drawn between defendants who have been

granted summary judgment and those who have not may appear somewhat artificial



13 At oral argument, Plaintiffs also argued that evidence that Foster “shorted”
customers is evidence that Foster joined the conspiracy. Similar to Plaintiffs’ other
arguments with respect to Foster, shorting customers is evidence that Foster acted
in parallel to other Defendants to decrease the supply of Broilers. It is not evidence
that Foster conspired to do so. That subtle difference is critical.
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to the parties who invariably possess more facts about what actually transpired than

the Court does. But that kind of artificiality is an inherent characteristic of litigation.

The Court can only decide the case on the facts before it, which have been developed

over several years of discovery. That discovery revealed documented evidence that

some producer defendants communicated about supply reductions, whereas it failed

to uncover such evidence with respect others. Of course, it is possible that the

producer     defendants   who   have    been granted      summary      judgment    simply

communicated on the phone or that their documented communications were simply

never discovered. That is nevertheless a fact of the record before the Court, on which

these summary judgment decisions are based.

         Agri Stats. In their complaints, Plaintiffs allege that Agri Stats reports

contained “producer-specific production” and price data. See, e.g., R. 3935 at 46-47 (¶

149). Plaintiffs allege further that, although the reports did not identify the producers

by name, Defendants were able to “deanonymize” the data and thereby use the report

to establish and enforce their alleged conspiracy. Plaintiffs made these allegations on

information and belief because the “Agri Stats reports are not publicly available.” Id.

at 47.

         Discovery has shown, however, that Agri Stats reports included only the

production and pricing information of the recipient producer receiving the report, and

not that of their competitors. See R. 6237-2 ¶¶ 17-19, 23-25, 44-45 (in these

paragraphs, Defendants make the assertion that production and pricing information

was not included in the report; Plaintiffs respond with references to their expert



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report noting that the information was helpful in understanding the industry, but do

not cite evidence contradicting Defendants’ assertion). Even if Defendants succeeded

in deanonymizing the reports, they could not have learned their competitors’

production and pricing information because Agri Stats redacted that information.

The lack of production and pricing information in the Agri Stats reports undermines

their usefulness for communicating intent to reach agreement to reduce production,

as Plaintiffs originally alleged.

      Plaintiffs argue, however, that there was additional information left

unredacted that allowed Defendants to infer their competitors’ production plans. See

R. 6237 at 11 (“Agri Stats collected and published forward-looking information that

gave participants insight into competitors’ future production information.”)

(emphasis added). But there is no evidence that such inferences would be a sufficient

basis to establish or monitor a conspiracy. The data might provide some general

“insight” into competitors’ plans, but in the end, the information is only sufficient to

permit an educated guess. Guesses, even educated ones, are not evidence of an

express agreement. And the fact that the defendant producers were making educated

guesses about their competitors’ production plans by analyzing or deanonymizing

Agri Stats reports is not evidence that Agri Stats agreed with the defendant

producers to restrict supply and increase price.

      Plaintiffs’ expert on the effect of Agri Stats reports—Luis Cabral—states that

“industry-wide information exchanges pose a threat to competition when they involve

information that . . . concerns output or prices,” among other factors. See R. 6226-7 at



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3. And he implies that Agri Stats reports contained such information when he states

that “Agri Stats . . . had all of these problematic features.” Id. But Agri Stats reports

did not actually contain output or pricing information for individual producers.

Cabral acknowledges this later in his report. In the section of his report titled, “Agri

Stats Reports Allowed Chicken Processors to Monitor Whether Firms Were Doing

Their Fair Share to Keep Output Low,” Cabral acknowledges that the only

information relevant to “output” in the Agri Stats reports were “bird weights” and

“average profit per pound of chicken produced.” Id. at 26-27. Cabral states that these

“two metrics help [Defendants] monitor whether competitors are doing their fair

share to keep production low.” Id. (emphasis added). But what these metrics do not

do is inform Defendants about their competitors’ production. Certainly, this is

valuable information to competitors. But it is not evidence of communication of

confidential production and pricing information.

      Elsewhere in Cabral’s report, he notes how Agri Stats reports “helped”

Defendants navigate the market. See, e.g., id. at 30, 39, 42. But “helping” is not

“communicating.” And without communication, Agri Stats cannot have joined the

conspiracy. As mentioned, they allow for an educated guess. But they do not

communicate production or pricing. While Cabral describes the pricing information

in Agri Stats reports as “current,” it is at least a month old. See id. at 40 (“[W]hat is

the average net price each complex would have received for a pound of chicken last

month?”) (emphasis added); see also id. at 41 (“last month”).




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       There is evidence that the Agri Stats reports played a role in the alleged

conspiracy. But that is because Defendants traded them with each other, thereby

directly communicating their production and pricing information to their

competitors, and crashing through the firewall of redacted information Agri Stats

built. See, e.g., R. 6228 at 83 (Amick gave its report to Koch); R. 6227 at 633, 639, 684

(Sanderson gave its report to Perdue and Pilgrim’s). They could have communicated

this information without the Agri Stats reports. Just because Agri Stats provided a

convenient form to transmit the information does not mean that Agri Stats itself

joined the conspiracy. And there is no allegation that Agri States encouraged

Defendants to exchange their reports with each other.

       Aside from the information in the reports, Plaintiffs argue in their brief that

Agri Stats participated in the alleged conspiracy as a communications conduit

through its staff analysts. See R. 6237 at 1 (“Agri Stats did more than transmit

reports: it facilitated the conspiracy by secretly telling defendants to cut production

and calculating exactly how much they should cut.”). The evidence Plaintiffs cite

includes documented communications from Agri Stats employee Mike Donohue and

Sue Trudell, who was actually an employee of Agri Stats subsidiary EMI. (EMI is not

a defendant in this case.) Plaintiffs identify the following communications:

      An August 2011 email from Trudell to Sanderson providing market analysis

       and advice about potential production cuts, R. 6237-4 at 234-36;

      A June 2011 email from Donohue to Fieldale stating, ““I am finally seeing and

       hearing of cutbacks that I can believe in. Most are coming from small and midsized



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       companies. One plant I visited today said they were cutting back 10% as of

       Monday.” R. 6227-2 at 104.

      An April 2008 email from Trudell to Tyson, “There is a lot of ‘talk’ about other

       cuts, but nothing concrete.” R. 6227-1 at 93.

      An internal Tyson email from April 2008 replaying a conversation with Trudell

       in which she recommended a 6% industry cut and reportedly said that, “she

       believes smaller companies and one of the largest are counting on Tyson to cut

       production as we have always done.” R. 6229-6 at 148.

      A September 2008 email from Trudell to Raeford predicting that the “industry

       will make modest production cuts through 2009 and most of 2010.” R. 6227-1

       at 96.

       As an initial matter, it is not clear that statements by Trudell who was

employed by EMI, can be attributed to EMI’s parent Agri Stats. In any event, the

more substantive problem with these communications for Plaintiffs’ case is that none

of them indicate that one producer asked Donohue or Trudell to convey any

information to another producer.

       Donohue’s and Trudell’s communications with Defendants were general

market analysis based on publicly available information. Their advice to reduce

production in order to increase prices for the health of the industry is mere economic

common sense applied to complicated data. Even their suggestion of specific

production cuts are the results of calculations made based on publicly available

aggregate industry data and constitute unremarkable analyst advice. Such

communications are not evidence that they acted as a conduit for an agreement to
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reduce supply. Market analysts are paid to provide advice. That Agri Stats and EMI

did so is not remarkable. Without evidence that the communications went beyond

generic advice, such as the disclosure of specific confidential information, it is

unreasonable to infer that they also facilitated communication about a supply

reduction conspiracy.

      This is particularly true because Agri Stats is not a Broiler producer and so did

not stand to profit directly from restricted supply and increased prices. This means

that the economic evidence that is the foundation of Plaintiffs’ claims against the

producers is fairly irrelevant to proving a claim against Agri Stats. This means, in

turn, that the evidence that Agri Stats joined the producers’ alleged agreement to cut

supply must be stronger than the suspicious communications that allowed Plaintiffs

to defeat summary judgment with respect to certain defendants. And evidence that

Donohue and Trudell communicated with Defendants about their predictions and

advice about the market is insufficient for the reasonable jury to infer that Agri Stats

joined a price fixing conspiracy with Defendants.

      At bottom, to the extent there is any evidence that Agri Stats conspired with

the producer defendants, it is weak. Agri Stats of course wanted the producers to

continue paying it subscription fees. But Agri Stats’s distance from the benefits of the

alleged conspiracy makes it less likely that Agri Stats would have joined. The

evidence that it did join, then, must be much stronger. Despite years of discovery,

Plaintiffs simply have not produced sufficient evidence for a reasonable jury to find




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by a preponderance of the evidence that Agri Stats agreed with the producer

defendants to restrict supply and increase the price of Broilers.

      E.     Rule of Reason

      The End User Plaintiffs argue that “Defendants violated the rule of reason

when they agreed to exchange competitively sensitive information through Agri Stats

and EMI.” R. 6226 at 64. “To determine whether a restraint violates the rule of

reason, . . . a three-step, burden-shifting framework applies.” Ohio v. Am. Express

Co., 138 S.Ct. 2274, 2284 (2018). “Under this framework, the plaintiff has the initial

burden to prove that the challenged restraint has a substantial anticompetitive effect

that harms consumers in the relevant market.” Id. “If the plaintiff carries its burden,

then the burden shifts to the defendant to show a procompetitive rationale for the

restraint.” Id. “If the defendant makes this showing, then the burden shifts back to

the plaintiff to demonstrate that the procompetitive efficiencies could be reasonably

achieved through less anticompetitive means.” Id.

      The “nature of the information exchanged” is key in determining whether its

exchange has a “substantial anticompetitive effect.” See Todd, 275 F.3d at 211. Courts

look to: (1) whether the information is current or past; (2) whether it identifies

particular parties, transaction, and prices; and (3) whether the data is publicly

available. See id. at 212-13. It is undisputed that much of the information in Agri

Stats reports was available only to producer subscribers and not the public, so the

Court will focus its analysis on the nature of the information contained in the reports.




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       The Agri Stats information is generally 45 days old. See R. 6237-2 at 7-8 (¶ 8)

(Defendants assert that the “historical data Agri Stats collects regarding production

and prices . . . is, on average, 45 days old.” Plaintiffs do not dispute this assertion, but

note only that Agri Stats’s reports are provided “weekly.”). Plaintiffs argue that the

“Federal Trade Commission and Department of Justice warn that data exchanges

between competitors raise concern unless ‘the information provided by participants

is more than three months old.’” R. 6237 at 4 (citing the FTC website). But “raising

concerns” does not necessarily satisfy Plaintiffs’ burden on summary judgment. And

Plaintiffs have cited no authority that exchange of 45 day old information can

constitute anticompetitive conduct.

       Furthermore, as discussed, the Agri Stats reports did not reveal competitors’

production and pricing data. Only a producer’s own production and pricing data was

included in their version of the report. Even if Defendants deanonymized the reports,

they would not have learned their competitors production and pricing data because

it was not contained in the version of reports Agri Stats provide to them.

       Agri Stats provided Defendants with general market production and pricing

data. For instance, according to Plaintiffs’ expert Luis Cabral, the Agri Stats’s

Express Sales Report “help[ed] chicken processors get a high-level picture of how their

prices compare to competitors’ prices.” R. 6226-7 at 330 (p. 39) (emphasis added).

Cabral goes on to describe a section of the Express Sales Report titled Economic

Impact of Sales for Company/Complex as providing “a much more granular

assessment of how chicken processors’ prices compare to those of competitors.” Id. at



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331 (p. 40). But that section only compares the producer’s data to market averages,

including: “how many pounds of the reported product the entire industry sold last

month”; “how many complexes in the industry sold the report product last month”;

“the difference between [the producer’s] net price for the reported product and the

industry average net price”; and “the difference between [the producer’s] net price for

the reported product and the average net price received by the 25% of complexes who

charged the most of the product.” Id. at 332 (p. 41) (emphases added). By contrast,

the Customer Sales Report included information about specific transactions, but only

those for the producer who received the report. See R. 6226-7 at 332 (p. 41). In other

words, each producer received a report of its own transactions, but not those of its

competitors.

      In granting Agri Stats’s motion for summary judgment on Plaintiffs’ per se

price fixing conspiracy claim, the Court noted that the primary role of the Agri Stats

reports in the alleged conspiracy appears to have been as a form of communication if

and when some Defendants directly exchanged the reports. The record shows that

the literal exchange of the proprietary reports was the cause of any anticompetitive

effect. As discussed earlier, sufficient evidence exists that some Defendants directly

exchanged production information through emails, public statements, and other

forms of communication. But there is scant evidence that the information Agri Stats

itself provided to each individual producer was used in a manner that had an

anticompetitive effect. Therefore, summary judgment must be granted on the End

User’s rule of reason claim.



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      F.     2015-16 Early Breeder Hen Slaughter

      The “class period” alleged by Plaintiffs is 2008 through 2019. This is primarily

based on Plaintiffs’ experts’ analyses, which show production below historically

normal levels during those years.

      While Plaintiffs’ experts use the unusual supply decrease to calculate damages

from Defendants’ alleged conspiracy, Plaintiffs do not allege that Defendants engaged

in anticompetitive parallel conduct throughout the entire class period. Instead,

Plaintiffs allege that Defendants engaged in parallel anticompetitive conduct during

three discrete periods within the class period: (1) the production decrease in 2008-09;

(2) the production decrease in 2011-12; and (3) the early breeder hen slaughter in

2015-16. A reasonable jury could conclude that these three campaigns of

anticompetitive conduct constitute one continuing conspiracy because of: (1) their

identical goals to increase price through supply reduction; (2) their close temporal

proximity; (3) and the identity of the conspirators.

      The Court has found that there is sufficient evidence for a reasonable jury to

find the existence of the alleged conspiracy by a preponderance of the evidence with

respect to certain defendants, but not others. This finding is founded upon the

strength of the economic evidence, including evidence that Defendants acted in

parallel to reduce supply in 2008-09 and 2011-12.

      With respect to 2015-16, however, Plaintiffs’ claim cannot be founded upon a

supply reduction because they concede that supply increased at that time, as it had

been steadily increasing since 2013. Instead, Plaintiffs argue that the conspiracy



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continued based on their contention that Defendants acted in parallel to slaughter

breeder hens at an earlier age, which theoretically should reduce the number of

chickens produced.

      As the Court discussed with respect to the evidence against each individual

defendant, there is significant evidence that early breeder hen slaughter was a

primary mechanism used by Defendants to implement the supply reductions of 2008-

09 and 2011-12. The emails to and from Tip Top staff reflect this effort, as do some

other documented communications in the record. Additionally, this chart shows a

drastic decrease in breeder hen slaughter age during 2008-09 and 2011-12:




R. 6226 at 25.

      Plaintiffs point out that this chart also shows a decrease in breeder hen

slaughter age during 2015-16. This is the foundation of Plaintiffs’ claim that the

conspiracy extended through this time. Plaintiffs also point to a number of

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documented communications among Defendants similar to those from the 2008-09

and 2011-12 periods concerning the sharing of production information. Plaintiffs

argue that, as with the two earlier periods, the Court should find that a reasonable

jury could infer by a preponderance of the evidence that the conspiracy continued

through 2015-16 because of the parallel breeder hen slaughter and the suspicious

communications.

      But as the Court explained in analyzing the 2008-09 and 2011-12 periods, the

suspicious communications were only sufficient to infer the existence of a conspiracy

because of the strength of Plaintiffs’ economic evidence, including parallel

anticompetitive conduct. Parallel conduct is not always necessary to prove an

antitrust conspiracy. But when the evidence of agreement is as weak as it is in this

case, parallel anticompetitive conduct is necessary to satisfy the preponderance

standard of proof.

      Plaintiffs have failed to make a sufficient showing of parallel conduct with

respect to the 2015-16 period. There is an apparent decrease in breeder hen age in

this period. But it is not nearly as dramatic as the earlier two periods. Also, Plaintiffs

and their expert (Sunding) concede that not all Defendants slaughtered breeder hens

early in 2015-16. See R. 6226-5 at 43 (p. 37) (“Most defendants also have a decrease

in breeder slaughter age in 2015-2016.”) (emphasis added).

      Furthermore, Plaintiffs’ evidence with regard to which particular Defendants

slaughtered breeder hens in 2015-16 is ambiguous and weak. Plaintiffs rely on the




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following exhibit of several charts produced by their expert Sunding to demonstrate

which Defendants slaughtered breeder hens early:




R. 6226-5 at 43 (p. 37). Sunding states that each of these charts show a defendant

slaughtering breeder hens at an early age. This is a relatively straightforward fact

the Court should be able to confirm by examining the charts. But the charts in the

exhibits are difficult to read, and not all of them have a labeled X-axis making it

impossible for the Court to confirm this contention. Furthermore, from what the

Court can discern from examining the charts, not all of the defendants in these charts




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had a material decrease in breeder hen slaughter age in 2015-16, e.g., Mountaire,

Wayne, Fieldale, Koch, OK Foods, and Pilgrim’s appear to be close to zero.

      The weakness of the evidence that Defendants slaughtered breeder hens in

parallel in 2015-16 is accentuated by the fact that production increased during that

period. True, success is not an element of liability for an antitrust conspiracy. See

Fructose, 295 F.3d at 656 (“The third trap is failing to distinguish between the

existence of a conspiracy and its efficacy.”). But success is some evidence that a

conspiracy existed. Here, the evidence shows that to the extent a conspiracy existed

in 2015-16, it was unsuccessful in decreasing production. Plaintiffs might have

argued that despite the increase in production, the rate of increase continued to be

suppressed by the early breeder hen slaughter. But the Court is not aware of any

such year-by-year analysis of the rate of production in the record. Without it, the

evidence of parallel early breeder hen slaughter is too weak to find that Defendants

were engaged in parallel anticompetitive conduct in 2015-16. And without evidence

of parallel conduct, Plaintiffs’ evidence of agreement—in the form of suspicious

communications—is not strong enough to push Plaintiffs’ allegations of agreement

“across the fifty-yard line.” See Kleen, 910 F.3d at 934.

      This is in contrast to the evidence of conspiracy with respect to the 2008-09

and 2010-11 supply reductions. For those time periods, the economic evidence was

compelling, the documented communications were more extensive. and the inference

that Defendants formed an agreement was entirely reasonable. Without sufficient

evidence of parallel conduct in 2015-16, the documented communications would need



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to be even stronger than those from the 2008-09 and 2010-11 periods. But the Court

has reviewed the documented communications from the 2015-16 period and finds

them to be less suspicious, more ambiguous, and the required inferences more

tenuous. The weak evidence of parallel conduct, combined with the paltry evidence of

communications indicating agreement, means that a reasonable jury could not find

by a preponderance of the evidence that Defendants engaged in a conspiracy during

2015-16.

      G.    Georgia Dock

      In addition to alleging supply restraint, Plaintiffs allege that Defendants

conspired to manipulate and artificially inflate the Georgia Dock price index (the

“Georgia Dock”). The Georgia Dock was compiled by the Georgia Department of

Agriculture (“GDA”), and for many years was one of the three primary price indexes

for Broilers, along with the Urner Barry and the USDA. The Class Plaintiffs and the

DAPs allege the Georgia Dock conspiracy is part of their Sherman Act claims. Certain

DAPs also claim that the Georgia Dock conspiracy violated the federal racketeering

statute.

            1.     Sherman Act Claim

      The GDA publishes the Poultry Market News (“PMN”). The PMN maintained

and published the Georgia Dock. The Georgia Dock was prepared by PMN staff

soliciting pricing information from Broiler producers in Georgia for various Broiler

and other chicken products on various days of the week. The GDA collected

information from the following poultry producers with operations in Georgia:



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Claxton; Harrison; Koch; 14 Mar-Jac; Pilgrim’s; Sanderson; Wayne; Fieldale, and

Tyson. The parties refer to these defendants as the “Georgia Dock Defendants.” The

GDA also created a PMN Advisory Committee, comprised of representatives from all

the Georgia Dock Defendants, except Sanderson. The other defendants in this case

did not make submissions to the Georgia Dock.

      Like the alleged supply restraint conspiracy, Plaintiffs’ claim of a conspiracy

to fix the Georgia Dock price index is founded on a suspicious chart:




R. 6226-3 at 87. 15 Plaintiffs point out that the Georgia Dock price becomes

significantly higher than the Urner Barry and USDA prices beginning in May 2014.

Plaintiffs argue that this discrepancy was the result of a meeting of the PMN



14 Koch did not join until it purchased a Georgia facility in 2012.

15 The labels identifying the lines on the chart are added by the Court.


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Advisory Committee at which the Georgia Dock Defendants agreed to call for a

“reevaluation” of the Georgia Dock price. After this meeting, Plaintiffs allege that the

Georgia Dock Defendants began to submit pricing information to the Georgia Dock

that was higher than the prices they were actually charging.

      The following chart shows that there is evidence that the Georgia Dock

Defendants’ submissions to Georgia Dock after the May 2014 meeting were higher

than their actual prices:




R. 6226-3 at 87. 16 Defendants, however, argue that the PMN staff did not ask them

for their actual prices. Rather, they were asked for predictions about what prices

would be for the “coming week.” See R. 5883 at 22 (citing R. 6226-19 at 211 (175:12-



16 In this chart, “Defendant Data” means Defendants’ prices. “The Defendant price is

a weighted-average price for WOGs across all Defendant transaction data.” R. 6226-
3 at 87. “WOGs” generally means Broilers. The labels identifying the lines on the
chart are added by the Court.
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16); R. 6226-20 at 1379 (69:18-22). Defendants offer other examples of solicitation

emails from PMN staff using future oriented language. See R. 5883 at 22 (citing

documents). They cite deposition testimony from PMN staff and Defendants’

employees stating that the future oriented and hypothetical nature of the Georgia

Dock was common knowledge. See R. 5883 at 4 (citing testimony). And they contend

that they did not always sell the particular size of chicken that the PMN staff inquired

about, and that they were instructed to submit a hypothetical price. See R. 5883 at 3-

4. Defendants also contend that they were asked to report their prices within a range

of a half cent above or below the previous week’s price. See R. 5883-2 at 2-3.

      By contrast, Plaintiffs rely on evidence that the Georgia Dock was intended to

be based on actual, not hypothetical, prices. They point to emails that they say

demonstrate that the majority of solicitations by PMN staff sought the Defendants’

“offering price,” which Plaintiffs contend is the “actual” price Defendants asked for

their products. See R. 6252 at 12 (citing documents and testimony); R. 6332. They

also point to documentary evidence indicating that Defendants knew they were

supposed to be submitting “actual” prices. Id. They also cite evidence that Defendants

sold at least comparable products that would have been the basis for actual pricing

data relevant to the Georgia Dock. See R. 6252-1 at 8.

      Defendants argue that, regardless of what they were asked and whether their

submissions reflected their actual prices, the majority of the submissions to the

Georgia Dock after May 2014 were to either decrease it or to keep it steady. See R.

5883-2 at 2-3 (PMN staffer notes to ask whether price is “steady, weak, firm, lower,



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or higher”). They point out that only Pilgrim’s consistently made submissions that

were consistently higher than the previous week’s price. Plaintiffs point out however,

that another way to interpret this same data is that the majority of the submissions

either kept the Georgia Dock steady or increased it. And they argue, keeping the

Georgia Dock price steady at a price that was significantly higher than the other price

indexes amounts to price fixing.

      Defendants also argue that the spread between the Georgia Dock and the other

two price indexes after 2014 was not historically unusual:




R. 5883 at 15.

      In any case, this review of the evidence demonstrates that a reasonable jury

could find that the Georgia Dock Defendants acted in parallel to knowingly submit

falsely inflated prices to the Georgia Dock with the intent of keeping it artificially

high. Defendants have submitted evidence that they were merely following the


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instructions of PMN staff. And there the parties dispute whether the discrepancies

between the Georgia Dock and other indexes, and the Georgia Dock and Defendants’

prices, are material. But these are questions of fact for the jury, and there is sufficient

evidence to the contrary for a jury to find that the Georgia Dock Defendants made

false submissions to PMN staff with the intent of artificially inflating the Georgia

Dock.

        Even so, Plaintiffs still must have evidence that the Georgia Dock Defendants

agreed to take these actions together. Plaintiffs’ primary evidence of agreement is the

Georgia Dock Defendants’ request to “reevaluate” the Georgia Dock and the May 2014

meeting ratifying that request. But Plaintiffs admit that “reevaluation” was an

established process of the PMN. See R. 6252-1 at 62-63 (¶ 31). The Advisory

Committee members could request a reevaluation, but the PMN staff had to agree.

See id. (defendants “called [the PMN staffer] and requested that the Georgia Dock be

re-evaluated”) (emphasis added). And the fact that the Georgia Dock price was lower

than the Urner Barry price weighs against the contention that the reevaluation

request was an illegal manipulation rather than a reasonable correction the

regulations allowed. Further, the May 2014 meeting included only three of the nine

Georgia Dock Defendants. The primary PMN staff person was also present at that

meeting. That staff person testified that there was no mention of an agreement at the

meeting. See R. 5883-4 at 259 (315:1-3). The presence of a non-conspirator at the

meeting where Defendants are alleged to have hatched their conspiracy strongly

weighs against finding that the meeting is evidence of a conspiracy.



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      Plaintiffs present scant additional evidence of agreement. The only

documentary evidence are internal Pilgrim’s emails in which the person responsible

for making submissions to the Georgia Dock is congratulated for the index increasing.

See R. 6252-2 at 15 (¶ 12). But this is not evidence of communications among the

Georgia Dock Defendants about the Georgia Dock. And the communications are not

even direct evidence that Pilgrim’s was making fraudulent submissions. It might be

possible to make that inference in the context of evidence that Pilgrim’s submissions

were higher than its actual prices. But even assuming that inference is reasonable,

it is not reasonable to make the further inference that it is evidence of a conspiracy

among the Georgia Dock Defendants based on internal Pilgrim’s emails that do not

suggest communication among the competitors.

      Fraudulently high submissions were in the unilateral interest of each of the

defendants. For that reason, even assuming the submissions were fraudulent, the

submissions themselves are not a basis to infer a conspiracy. Plaintiffs have simply

not identified any evidence that the Georgia Dock Defendants communicated about

the Georgia Dock with the intent to conspire to inflate it.

      Plaintiffs argue that the evidence of communications about supply reduction

permits the inference that the Georgia Dock Defendants were also conspiring to

manipulate the Georgia Dock. But as discussed, the suspicious communications about

production require an inference to find the existence of an agreement. None of the

documented communications expressly embody an agreement. Plaintiffs’ argument

would require yet another inference that an agreement about supply reduction



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implies an agreement to manipulate the Georgia Dock. That is simply too attenuated.

This further inference step makes it unreasonable and insufficient for a reasonable

jury to find a conspiracy to manipulate the Georgia Dock by a preponderance of the

evidence. Summary judgment must be granted to Defendants on Plaintiffs’ Sherman

Act claims alleging manipulation of the Georgia Dock.

             2.    RICO Claims

      The DAPs also claim that Defendants’ Georgia Dock submissions constitute a

violation of the Racketeer Influenced and Corrupt Organizations Act (“RICO”). The

RICO statute makes it “unlawful for any person employed by or associated with

any enterprise engaged in, or the activities of which affect, interstate or foreign

commerce, to conduct or participate, directly or indirectly, in the conduct of

such enterprise’s affairs through a pattern of racketeering activity.” 18 U.S.C. §

1962(c). The DAPs allege that “the enterprise was the group of Georgia Dock

Defendants associated in fact through their price submissions to the PMN, their role

on the PMN Advisory Committee, their involvement with the Georgia Poultry

Federation, and their use of the Georgia Dock price index in selling poultry.” R. 3922

¶ 1043 (emphasis added). And they allege that the enterprise “acted with a common

purpose: specifically, to sustain the existence of the Poultry Market News and the

Georgia Dock price index and to artificially inflate the Georgia Dock price index

through fraudulent acts and omission for the benefit of the enterprise and the

individual defendants.” Id. ¶ 1044.




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      The problem with the DAPs RICO claims with respect to Georgia Dock is that

“RICO does not penalize parallel, uncoordinated fraud.” United Food v. Walgreen Co.,

719 F.3d 849, 855 (7th Cir. 2013). As discussed, Plaintiffs have demonstrated a triable

question of fact regarding whether Defendants made false submissions to the PMN.

But the DAPs have not presented any evidence that Defendants did so in a

coordinated manner. Without evidence of coordination other than parallel

racketeering activity, the DAPs have not established the existence of an enterprise

apart from the racketeering activity. See United Food, 719 F.3d at 855 (“[The

plaintiff] cannot bootstrap its allegations of illegal conduct into allegations that [the

defendants] conducted the affairs of an enterprise by asking us to infer that because

the activities were illegal, they therefore must also have been coordinated activity

undertaken on behalf of the . . . enterprise.”). And without sufficient evidence for a

reasonable jury find the existence of an enterprise, the Court must grant summary

judgment to Defendants.

      The DAPs allege that the Georgia Dock Defendants’ goal and purpose in

allegedly forming an “association in fact” was to inflate the Georgia Dock. But the

DAPs have presented no evidence that the Georgia Dock Defendants actually formed

such an association in fact other than their parallel allegedly fraudulent price

submissions. The DAPs might have simply alleged that each Georgia Dock Defendant

violated subsection (c) by “participating it the conduct” of PMN and the Advisory

Committee through racketeering activities. See 18 U.S.C. § 1962(c). But the DAPs

have made no such allegation and it is far too late to amend the complaint.



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      To be clear, the DAPs do not allege the legal (and lawful) entities of the PMN,

the GDA, or the PMN Advisory Committee are the enterprise. Nor do they make such

an argument in their brief where they focus on arguing that they have sufficiently

demonstrated the existence of an “association in fact.” The PMN, the GDA, and the

PMN Advisory Committee are not mere “associations in fact”—they are existing

entities. The GDA is a government agency; the PMN is a department of a government

agency; and the PMN Advisory Committee is a group created and defined by PMN

regulations. There is no need to prove that any of these entities or groups are

associations in fact because they are already existing enterprises. If the DAPs had

intended to allege or argue that any of these entities were the relevant enterprise,

they would not have needed to address the elements of an association in fact.

      And to the extent the DAPs come close to alleging that the PMN Advisory

Committee is the relevant enterprise when they allege that they were “associated in

fact through . . . their role on the PMN Advisory Committee,” they also allege that

the purpose of the alleged “enterprise” was “to artificially inflate the Georgia Dock

price index.” R. 3922 at 243 (¶ 777) (alleging that Defendants undertook their

racketeering activities “for the benefit of the enterprise”). Clearly, “inflating the

Georgia Dock” was not the Advisory Committee’s purpose, which was only to advise

the PMN and provide pricing information. By alleging that the “enterprise’s” purpose

was to inflate the Georgia Dock, the DAPs exclude the possibility that they are

claiming that the PMN Advisory Committee was the relevant enterprise.




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      In any case, even if the DAPs had made such an allegation, the Court would

sever it from the trial of the supply reduction conspiracy. Fraud on the Georgia Dock

is not related to a conspiracy to reduce supply. The two claims might have been

properly tried together if both relied upon coordination or conspiracy among

Defendants. The DAPs argue that the “evidence presented here showing regular

communications among the competitors regarding confidential information similarly

raises issues of fact in dispute as to the scope of the conspiracy.” R. 6231 at 7. But as

discussed, Plaintiffs have failed to present evidence that the Georgia Dock

Defendants collectively agreed to manipulate the Georgia Dock. Further, as discussed

with respect to the 2015-16 early breeder hen slaughter allegation, Plaintiffs have

failed to present evidence that the supply reduction conspiracy was continuing at the

same time as the alleged Georgia Dock conspiracy. Without evidence that any supply

reduction conspiracy was active at the time the Georgia Dock Defendants made their

allegedly fraudulent Georgia Dock submissions, the evidence is only sufficient to

prove unilateral fraudulent submissions. And unilateral fraud is a categorically

different activity from coordinated price fixing.

      Therefore, summary judgment must be granted to Defendants on all of

Plaintiffs’ Georgia Dock claims. 17




17 Plaintiffs included all Defendants in their Georgia Dock claims, even though only

the Georgia Dock Defendants made submissions to the Georgia Dock. The Georgia
Dock Defendants and the Non-Georgia Dock Defendants filed separate motions for
summary judgment, with the Georgia Dock Defendants focusing on the issues just
discussed, and the Non-Georgia Dock Defendants arguing that they could not be
liable for Georgia Dock submissions they didn’t make. The Court’s findings that
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      H.     Overarching Conspiracy

      A question that has had significant impact on the management of this case is

whether Plaintiffs plausibly alleged an “overarching conspiracy” to fix the price of

Broilers. The original complaints alleged that this overarching conspiracy spanned

the supply reductions of 2008-09 and 2011-12, the breeder hen slaughters of 2015-16,

and the Georgia Dock conspiracy. Later, Plaintiffs amended their complaints to add

allegations of bid-rigging based on facts alleged in criminal indictments against some

of the producers in this case and their executives. 18 Plaintiffs alleged that these bid-

rigging claims also contributed to the claim of an overarching conspiracy.

      The Court found that these new allegations were made so late in the case that

they could not be incorporated into the current case management schedule. The Court

initially ordered that the bid-rigging claims be stayed until the supply reduction and

Georgia Dock claims were resolved. See R. 3835 (In re Broiler Chicken Antitrust Litig.,

2020 WL 5648304 (N.D. Ill. Sept. 22, 2020)). Some plaintiffs objected to this order

because they insisted on pursuing the overarching conspiracy claim with the bid-

rigging claims included. In response, the Court suggested splitting the case into two

tracks: parties that were willing to forgo the bid-rigging claim would continue on the



summary judgment should be granted on the Georgia Dock claims is sufficient to
address and grant both motions.
  Additionally, Defendants filed a motion for summary judgment on their affirmative
defenses related to the Georgia Dock claims. In light of the Court’s grant of summary
judgment on those claims, the motion on the affirmative defenses is moot and it is
unnecessary to address it.
18Those criminal cases in the District of Colorado resulted in dismissals, two
mistrials, and five acquittals.
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then-current case schedule to summary judgment on the supply reduction and

Georgia Dock claims as Track One; parties that insisted on pursuing the supply

reduction, Georgia Dock, and bid-rigging claims all together would be delayed to

Track Two until Track One was complete. See R. 5128 (In re Broiler Chicken Antitrust

Litig., 2021 WL 5504762 (N.D. Ill. Oct. 15, 2021)); see also R. 5315 (transcript of

hearing).

      All three Classes and some DAPs chose to proceed on track one to summary

judgment on the supply reduction and Georgia Dock claims, thereby forgoing an

overarching conspiracy claim including bid-rigging. See, e.g., R. 5307 (“Direct

Purchaser Plaintiffs’ Notice and Stipulation of Intent to Proceed on Track One”).

Hence, the supply reduction and Georgia Dock claims are at issue on these summary

judgment motions for Track One, while an additional group of DAPs is waiting on a

separate Track Two to finish pursuing all their claims together. See R. 5305 (order

staying “Track Two”).

      Nevertheless, the Classes and DAPs on these motions continue to argue that

there is a separate overarching conspiracy claim for Broiler price fixing that includes

the 2008-09 and 2011-12 supply reductions, the 2015-16 breeder hen slaughters, and

the Georgia Dock manipulation. The Court has previously expressed skepticism that

any such claim could exist apart from the facts relevant to each aspect of the alleged

conspiracy. See R. 4722. Plaintiffs’ argument for the existence of an “overarching

conspiracy” is primarily based on the Supreme Court’s decision in Continental Ore

Co. v. Union Carbide & Carbon Corp., 370 U.S. 690 (1962). But as the Court



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explained, Plaintiffs give too broad a reading to this decision. See R. 4722 at 3 (“It

does not appear that Continental Ore or any of the other cases [plaintiff] cites

concerned a multi-faceted conspiracy like this case or had anything to say about how

such a case should be discovered and tried.”); see also Zenith Radio Corp. v.

Matsushita Elec. Indus. Co., 513 F. Supp. 1100, 1168-69 (E.D. Pa. 1981) (Continental

Ore does not condone the “synergistic effect” of permitting an overarching conspiracy

claim to survive summary judgment on the backs of three underling conspiracy

claims. “Lawsuits in the federal courts are decided by proof, not sorcery.”). Plaintiffs

have not cited any authority sufficient for the Court to change its perspective.

      Now on summary judgment, the Court has found the evidence sufficient to go

to trial as to certain defendants with regard to the 2008-09 and 2011-12 supply

reductions, but insufficient with regard to the claims about 2015-16 breeder hen

slaughters and the Georgia Dock. To the extent that Plaintiffs argue that the evidence

of the 2008-09 and 2011-12 supply reduction is sufficiently strong to rehabilitate the

weak evidence of conspiracy in 2015-16 and Georgia Dock—such that a trial can be

held on an “overarching conspiracy”—the Court disagrees. The sufficiency of the

evidence controls which claims go to trial, not Plaintiffs’ theory of the case. Because

there isn’t sufficient evidence for a reasonable jury to find by a preponderance of the

evidence that Defendants agreed to fix prices in 2015-16 through early breeder hen

slaughters or that Defendants conspired to manipulate the Georgia Dock, those

alleged agreements cannot be part of a claim for an overarching conspiracy. Plaintiffs




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are left with their claims of a conspiracy to reduce supply in 2008-09 and 2011-12.

Those are the claims that will go to trial.

       I.     Statute of Limitations

       As an initial matter, there is no question that the Sherman Act’s four-year

statute of limitations permits claims based on alleged actions by Defendants as far

back as September 2012 because the initial complaints in this case were filed in

September 2016. The supply cuts that began in 2011 and continued into 2012,

constitute a continuing violation that extends into the period covered by the statute

of limitations. Therefore, the question is whether the Court should find the Sherman

Act claims based on the 2008-09 supply reduction to be untimely.

       The “discovery rule” tolls the statute of limitations until a plaintiff could

reasonably have discovered that they had been injured. See Vasquez v. Indiana Univ.

Health, Inc., 40 F.4th 582, 588 (7th Cir. 2022) (“The rule postpones the beginning of

the limitations period from the date when the plaintiff is wronged to the date when

he discovers he has been injured.”). Defendants argue that this rule does not apply to

Sherman Act claims. See R. 5970 at 6 (citing Rotkiske v. Klemm, 140 S.Ct. 355, 360-

61 (2019)). The Court, however, agrees with the analysis of other courts in this district

that are to the contrary. See Carbone v. Brown Univ., 2022 WL 3357249, at *9 (N.D.

Ill. Aug. 15, 2022).

       Even if the discovery rule applies to Sherman Act claims, Defendants argue

that Plaintiffs should have discovered their injury as early as 2009, when much of the

data demonstrating an unusual supply decrease was already available. But this is an



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observation that it was possible for Plaintiffs to have identified their claims in 2009.

It is not an argument that a reasonable plaintiff would have done so. The question is

whether Plaintiffs had reason prior to September 2012 to undertake the analysis they

sought from their experts.

       The impetus for such an investigation could not be the market facts alone;

rather, Plaintiffs had to have some reason to suspect a conspiracy. Indeed,

Defendants’ primary argument in this case is that the market facts are more

reasonably explained by economic conditions and unilateral business decisions, not a

conspiracy. Defendants make no credible argument that Plaintiffs had reason to

suspect a conspiracy prior to September 2012.

       Other courts have acknowledged that general public information that does not

“mention . . . collusive behavior” is insufficient to put Plaintiffs on notice. See, e.g., In

re Sulfuric Acid Antitrust Litig., 743 F. Supp. 2d 827, 855 (N.D. Ill. 2010). “[E]ven if

Plaintiffs had harbored suspicions early on, it remains unclear whether a reasonable

investigation would have revealed incriminating evidence sufficient to support an

antitrust claim against Defendants.” Id. at 856. “The point at which a reasonable

person would have appreciated the need for diligent inquiry, or whether a resulting

investigation would have produced useful results, are ultimately questions of fact for

a juror to decide.” Id.

       Moreover, Plaintiffs were prevented from discovering Defendants’ conspiracy

because they concealed it. When Plaintiffs inquired as to the reason for supply

decreases, Defendants provided many explanations, none of which, of course, was



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that they had agreed to intentionally limit supply. “[I]t is not enough for summary

judgment to point to facts which might have caused a plaintiff to inquire, or could

have led to evidence supporting his claim. A defendant who does this has succeeded

in demonstrating only that there is a jury question regarding the tolling of the statute

of limitations by fraudulent concealment.” In re Copper Antitrust Litig., 436 F.3d 782,

792 (7th Cir. 2006). And because a trial is necessary it is not appropriate to grant

summary judgment on any claims based on the statute of limitations.

                                     Conclusion

      Therefore:

         Defendants’ joint motion for “summary judgment concerning alleged
          agreement to restrict broiler supply,” [5996] [6033] is denied in part and
          granted in part in accordance with this order.

         Defendants’ joint motion by certain defendants for “summary judgment on
          statute of limitations grounds,” [5966] is denied.

         Defendants’ joint motion for “partial summary judgment as to overarching
          conspiracy claims,” [5901] is granted.

         The motion by certain defendants for “partial summary judgment on all
          Track 1 plaintiffs’ claims alleging a ‘Georgia Dock conspiracy,’” [5527] is
          granted.

         The motion by certain defendants for “summary judgment dismissing Track
          1 plaintiffs’ Georgia Dock claims,” [5878] is granted;

         Plaintiffs’ motion for partial summary judgment on three affirmative
          defenses, [5869] [5870] is denied as moot.

         Defendants’ Daubert motions [5938] [5892] [5885] [5862] [5896] [5910]
          [5865] [5891] [5897] [5929] are denied as to the issues addressed in this
          order, and denied without prejudice to raising in a motion in limine with
          respect to all other issues.

         The following motions by individual defendants are denied:

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                -   Harrison [5866];
                -   Keystone [5936];
                -   Koch [6006];
                -   Mountaire [5886];
                -   OK Foods [5879] [5880];
                -   Peco [5912];
                -   Pilgrim’s [5893]
                -   Raeford [5935];
                -   Sanderson [5990];
                -   Simmons [5890]; and
                -   Tyson [5991].

         The following motions by individual defendants regarding Plaintiffs’
          Sherman Act and RICO claims are granted:
               - Agri Stats [5899];
               - Case [5926];
               - Fieldale [5848]
               - Foster [5876];
               - Fries-Claxton [5915];
               - Perdue [5987]; and
               - Wayne [5851].

         Defendants’ joint motion for “summary judgment dismissing track 1
          plaintiffs’ state law claims” [5846] is granted in part and reserved in part.
          The motion is granted with respect to the claims against Agri Stats, Case,
          Fieldale, Foster, Fries-Claxton, Perdue, and Wayne, because Plaintiffs
          concede that it is “undisputed that each of Plaintiffs’ state claims is
          premised on the same conduct as their federal Sherman Act claims,” see R.
          6230 at 9, and the Court has granted summary judgment on the Sherman
          Act claims with respect to the seven defendants just listed. The Court
          reserves ruling on the motion with respect to the other twelve defendants
          until necessary for the September trial of the Directs and DAPs claim. The
          parties should inform the Court whether such rulings are needed prior to
          trial. The Court will issue a more fulsome opinion on the state law issues
          relevant to the Indirects and End Users in time to prepare for any trial of
          their claims once they are scheduled.

         It was unnecessary for purposes of these motions to address the DAP’s
          motion to exclude portions of certain Defendants’ economists’ opinions.
          Thus, that motion [5914] is denied without prejudice to refiling as a motion
          in limine.




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      The Court is aware that the Track Two motion to dismiss is pending. The Court

will address it in due course. However, the parties should inform the Court promptly

if any of the findings in this opinion and order negates the need for a decision on that

motion, or otherwise alter their plans for pursuing or defending the case.

                                                      ENTERED:


                                                      ______________________________
                                                      Honorable Thomas M. Durkin
                                                      United States District Judge

Dated: November 2, 2023, nunc pro tunc, June 30, 2023

i Plaintiffs on these motions are three classes and more than 50 opt-out plaintiffs. As

the Court discussed in greater detail in certifying the classes, the three classes are:
(1) the Direct Purchaser Plaintiffs (“Directs”); (2) Commercial and Institutional
Indirect Purchaser Plaintiffs (“Indirects”); and (3) the End User Plaintiffs (“End
Users”). The opt-out plaintiffs are known to the Court and the parties as “Direct
Action Plaintiffs” or “DAPs.” The DAPs are all direct purchasers that opted out of the
Directs Class. Many of their claims are at issue on these motions. More than an
additional 50 DAPs are waiting in the wings for Track Two of this case—a case
management decision discussed in greater detail below in analyzing Plaintiffs’ claim
for an “overarching conspiracy.”
ii The defendants who filed these motions are:

         Case Foods, Inc., Case Farms, LLC, and Case Farms Processing, Inc.
          (“Case”);
         Fieldale Farms Corporation (“Fieldale”);
         Foster Farms, LLC and Foster Poultry Farms (“Foster);
         Harrison Poultry, Inc. (“Harrison”);
         House of Raeford Farms, Inc. (“Raeford”);
         Keystone Foods LLC, Equity Group Eufaula Division LLC, Equity Group
          Kentucky Division LLC, and Equity Group - Georgia Division LLC
          (“Keystone”);
         Koch Foods Incorporated, JCG Foods of Alabama LLC, JCG Foods of
          Georgia LLC and Koch Meat Co., Inc. (“Koch”);
         Mountaire Farms Inc., Mountaire Farms, LLC and Mountaire Farms of
          Delaware, Inc. (“Mountaire);
         Norman W. Fries, Inc. d/b/a Claxton Poultry Farms (“Fries-Claxton”);
         O.K. Foods, Inc., O.K. Farms, Inc., and O.K. Industries, Inc. (“OK Foods”);
         Peco Foods, Inc. (“Peco”);

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          Perdue Farms, Inc. and Perdue Foods LLC (“Perdue”);
          Pilgrim’s Pride Corporation (“Pilgrim’s);
          Sanderson Farms, LLC (f/k/a Sanderson Farms, Inc.), Sanderson Farms
           Foods, LLC (f/k/a Sanderson Farms, Inc. (Foods Division)), Sanderson
           Farms Production, LLC (f/k/a Sanderson Farms, Inc. (Production
           Division)), and Sanderson Farms Processing, LLC (f/k/a Sanderson Farms,
           Inc. (Processing Division)) (“Sanderson”);
          Simmons Foods, Inc. and Simmons Prepared Foods Inc. (“Simmons”);
          Tyson Foods, Inc., Tyson Chicken, Inc., Tyson Poultry, Inc., Tyson Breeders,
           Inc. (“Tyson”); and
          Wayne Farms LLC (“Wayne”);
          Agri Stats, Inc. (“Agri Stats”). Agri Stats is the only defendant that is not a
           chicken producer. Agri Stats is a subscription analyst company that
           prepared reports about the Broiler industry to which the producer
           defendants subscribed.
Defendants who filed motions but settled prior to this decision are:
    George’s, Inc. and George’s Farms, Inc. (“George’s”); and
    Mar-Jac Poultry, Inc., Mar-Jac Poultry MS, LLC, Mar-Jac Poultry AL, LLC,
     Mar-Jac AL/MS, Inc., Mar-Jac Poultry, LLC, and Mar-Jac Holdings, Inc.
     (“Mar-Jac”).
Defendants Amick Farms, LLC, The Amick Company, Inc., Amick-OSI Broilers, LLC,
Amick-OSI Processing, LLC (“Amick”), settled before the motions were filed.
iii The motions are the following:

      Joint motion for “summary judgment concerning alleged agreement to restrict
       broiler supply,” R. 5996, R. 6033;
      Joint motion for “summary judgment dismissing track 1 plaintiffs’ state law
       claims,” R. 5846;
      Joint motion by certain defendants for “summary judgment on statute of
       limitations grounds,” R. 5966;
      Joint motion for “partial summary judgment as to overarching conspiracy
       claims,” R. 5901;
      Joint motion by certain defendants for “partial summary judgment on all track
       1 plaintiffs’ claims alleging a ‘Georgia Dock conspiracy,’” R. 5527;
      Joint motion by certain defendants for “summary judgment dismissing track 1
       plaintiffs’ Georgia Dock claims,” R. 5878;
      Joint motion by plaintiffs for partial summary judgment on three affirmative
       defenses, R. 5869; R. 5870;
      A motion by the DAPs to exclude portions of certain Defendants’ economists’
       opinions, R. 5914;
      Ten joint motions to exclude the testimony of Plaintiffs’ experts: R. 5938
       (Cabral); R. 5892 (Carter); R. 5885 (Coenen); R. 5862 (Elhauge); R. 5896
       (Frankel); R. 5910 (Lamb); R. 5865 (Mangum); R. 5891 (McClave); R. 5897
       (Sunding); R. 5929 (Williams); and
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      Twenty individual motions, one filed by each originally implicated defendant:
       R. 5899 (Agri Stats); R. 5926 (Case); R. 5848 (Fieldale); R. 5876 (Foster); R.
       5915 (Fries-Claxton); R. 5916 (George’s) (withdrawn per settlement, R. 6583);
       R. 5866 (Harrison); R. 5936 (Keystone); R. 6006 (Koch); R. 5871 (Mar-Jac)
       (withdrawn per settlement, R. 6583); R. 5886 (Mountaire); R. 5879; R. 5880
       (OK Foods); R. 5912 (Peco); R. 5987 (Perdue); R. 5893 (Pilgrim’s); R. 5935
       (Raeford); R. 5990 (Sanderson); R. 5890 (Simmons); R. 5991 (Tyson); and R.
       5851 (Wayne).




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